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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                  )
    In re:                                                        )        Chapter 11
                                                                  )
    PERFORMANCE POWERSPORTS                                       )
    GROUP INVESTORS, LLC, et al.,1                                )        Case No. 23-10047 (LSS)
                                                                  )
                                Debtor.                           )        (Jointly Administered)
                                                                  )
                                                                  )        Related to Docket No. 385

                             NOTICE OF FILING OF PLAN SUPPLEMENT

       PLEASE TAKE NOTICE that on June 15, 2023, the above-captioned debtor and debtor
in possession (collectively, the “Debtors”) filed the Debtors’ Amended Joint Plan of Liquidation
Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 385] (as may be modified, amended,
or supplemented from time to time, the “Plan”).2

        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file this plan supplement
(this “Plan Supplement”) in support of the Plan with respect to the following documents attached
hereto:

                    Exhibit A — the identity of the Litigation Trustee
                    Exhibit B — the identity of the Members of the Litigation Trust
                                 Oversight Committee
                    Exhibit C — the form of Litigation Trust Agreement
                    Exhibit D — the form of Litigation Trust Note
                    Exhibit E — the form of Plan Administrator Agreement
                    Exhibit F — the identity of the Plan Administrator

       PLEASE TAKE FURTHER NOTICE that the documents contained in the Plan
Supplement are integral to, and are considered part of, the Plan. The documents contained in the
Plan Supplement will be approved by the Bankruptcy Court pursuant to the Confirmation Order.

       PLEASE TAKE FURTHER NOTICE that certain documents, or portions thereof,
contained in the Plan Supplement remain subject to ongoing review, revision, and negotiation

1
      The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal tax
      identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068); Performance
      Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533); and
      Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
      University Drive, Tempe, Arizona 85281.
2
      Capitalized terms used and not defined herein have the meanings given to them in the Plan.



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among the Debtors and interested parties with respect thereto. The Debtors reserve the right to
alter, amend, modify, or supplement the documents in this Plan Supplement in accordance with
the Plan at any time before the Effective Date of the Plan or any such other date as may be provided
for by the Plan or by order of the Bankruptcy Court; provided that if the document in the Plan
Supplement is altered, amended, modified, or supplemented in any material respect, the Debtors
will file a blackline of such document with the Bankruptcy Court.

       PLEASE TAKE FURTHER NOTICE that the Plan, the Plan Supplement, and related
documents can be viewed on the Court’s website at https://ecf.deb.uscourts.gov. Further
information may be obtained by contacting the undersigned counsel for the Debtor.

 Dated: July 10, 2023                         /s/ Domenic E. Pacitti
 Wilmington, Delaware                         Domenic E. Pacitti (DE Bar No. 3989)
                                              Michael W. Yurkewicz (DE Bar No. 4165)
                                              Sally E. Veghte (DE Bar No. 4762)
                                              KLEHR HARRISON HARVEY BRANZBURG LLP
                                              919 North Market Street, Suite 1000
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 426-1189
                                              Email: dpacitti@klehr.com
                                                      myurkewicz@klehr.com
                                                      sveghte@klehr.com
                                              -and-
                                              Morton R. Branzburg (admitted pro hac vice)
                                              KLEHR HARRISON HARVEY BRANZBURG LLP
                                              1835 Market Street, Suite 1400
                                              Philadelphia, Pennsylvania 19103
                                              Telephone: (215) 569-3007
                                              Email: mbranzburg@klehr.com

                                              Counsel to the Debtors and Debtors in Possession




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                                    Exhibit A
                            Identity of the Litigation Trustee


                       The Litigation Trustee shall be Peter Kravitz.




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                                       Exhibit B
              Identity of the Members of the Litigation Trust Oversight Committee


                The Members of the Litigation Trust Oversight Committee shall be:
              one (1) member selected by Vietnam New Century Industrial Co., Ltd.;
    one (1) member selected by the Debtors who shall be Jillian Lin of Dundon Advisors; and
                       one (1) independent member selected by Purchaser.




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                                  Exhibit C
                         Form of Litigation Trust Agreement




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                             LITIGATION TRUST AGREEMENT

         This litigation trust agreement (the “Litigation Trust Agreement”), dated as of [●], 2023,
by and among Performance Powersports Group Investor, LLC and each of its debtor affiliates
(collectively, the “Debtors,” and the Debtors on and after the Effective Date (as defined below),
the “Reorganized Debtors”); CPS USA Acquisition, LLC (the “Buyer” or “Kinderhook”); Peter
Kravitz or such other person as the Debtors and Kinderhook agree upon, solely in his/her
representative capacity as trustee of the Litigation Trust (as defined below) (the “Litigation
Trustee”); and one (1) member selected by Vietnam New Century Industrial Co., Ltd, (“Hisun”),
Jillian Lin of Dundon Advisors, and one (1) independent member selected by Buyer, as members
of the oversight committee under the Litigation Trust (the “Litigation Trust Oversight Committee,”
and together with the Debtors, the Reorganized Debtors, Kinderhook, and the Litigation Trustee,
the “Parties”), is executed in order to create and establish a litigation trust (the “Litigation Trust”)
in connection with, and subject to approval by the Bankruptcy Court (as defined herein) of, the
Debtors’ plan under chapter 11 of the Bankruptcy Code, which shall be in form and substance
acceptable to Kinderhook in its sole discretion (as the same may be amended, supplemented, or
otherwise modified from time to time in accordance with the terms and provisions thereof and
including the Plan Supplement, the “Plan”).

                                           WITNESSETH

       WHEREAS, the Debtors filed voluntary petitions for relief under chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) on January 16, 2023 (the “Petition Date”) in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”);

        WHEREAS, on March 27, 2023, the Bankruptcy Court entered the Order (I) Approving
Asset Purchase Agreement, (II) Authorizing and Approving Sale of Substantially All Assets of the
Debtors Pursuant to Section 363 of the Bankruptcy Code Free and Clear of All Liens, Claims,
Interests, and Encumbrances, (III) Authorizing the Assumption and Assignment of Certain
Executory Contracts and Unexpired Leases Pursuant to Section 365 of the Bankruptcy Code,
(IV) Authorizing the Debtors to Consummate the Transactions Related to the Above; and
(V) Granting Related Relief [Docket No. 270] (the “Sale Order”) which, among other things,
approved the Debtors’ entry into that certain Fourth Amended and Restated Asset Purchase
Agreement dated March 26, 2023 by and among Performance Powersports Group Investor, LLC,
Performance Powersports Group Holdings, Inc., and their direct and indirect subsidiaries set forth
in Schedule I attached thereto and the Buyer (the “APA”) for the sale of substantially all assets of
the Debtors free and clear of all liens, claims, encumbrances, and other interests (except certain
assumed liabilities as set forth in the APA) (the “Sale”);

         WHEREAS, the APA provides, among other things, that the parties thereto shall enter into
a litigation trust agreement upon closing of the Sale pursuant to which a litigation trust shall be
established;

       WHEREAS, the Litigation Trust is created on behalf of and for the ratable benefit of
(a) Kinderhook and (b) holders of allowed general unsecured Claims against the Debtors
(the “GUC Holders” and, together with Kinderhook, collectively, the “Litigation Trust




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Beneficiaries”) that will be entitled to distributions on account of such claims pursuant to the (the
“Plan”)1 and for the pursuit of any and all Litigation Trust Causes of Action (as defined herein).

        WHEREAS, the Litigation Trust is established hereunder for the sole purpose of
prosecuting the Litigation Trust Causes of Action and liquidating and distributing the Litigation
Trust Property (as defined below) to or for the benefit of the Litigation Trust Beneficiaries (the
“Litigation Trust Interests”), with no objective or authority to continue or engage in the conduct
of a trade or business;

        WHEREAS, the Litigation Trust will (a) receive (i) from the Debtors, all of the Debtors’
respective rights and interests in the Litigation Trust Causes of Action and (ii) from Kinderhook,
the Initial Funding (as defined below); (b) allow the Litigation Trustee to prosecute and settle the
Litigation Trust Causes of Action, pursuant to the terms of this Litigation Trust Agreement;
(c) hold the Litigation Trust Assets, the Initial Funding, any Supplemental Funding (as defined
below), and all dividends, rents, royalties, income, proceeds and other receipts of, from or
attributable to the Litigation Trust Assets (the “Litigation Trust Proceeds,” and together with the
Litigation Trust Assets, the Initial Funding, and any Supplemental Funding, the “Litigation Trust
Property”) in trust for the benefit of the Litigation Trust Beneficiaries as provided herein; and
(d) oversee and direct the prosecution and liquidation of the Litigation Trust Property held by it
for the benefit of, and distribute the proceeds therefrom to, the Litigation Trust Beneficiaries
pursuant to the terms of this Litigation Trust Agreement;

        WHEREAS, the Litigation Trust is intended to qualify as (a) a “liquidating trust” pursuant
to the Internal Revenue Code of 1986, as amended (the “IRC”) and the regulations promulgated
thereunder (“Treasury Regulations”), including Treasury Regulation section 301.7701-4(d), with
no objective or authority to continue or engage in the conduct of a trade or business, except to the
extent reasonably necessary to, and consistent with, the purpose of the Litigation Trust and (b) a
“grantor trust” for U.S. federal income tax purposes, pursuant to sections 671-677 of the IRC; and

        WHEREAS, the Litigation Trustee shall have all powers necessary to implement the
provisions of this Litigation Trust Agreement and administer the Litigation Trust as provided
herein.

        NOW, THEREFORE, pursuant to the Plan and the Confirmation Order (as defined below),
in consideration of the promises, the mutual agreements of the Parties contained herein, and other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged
and affirmed, the Parties hereby agree as follows:




1
    For the avoidance of doubt, Buyer’s $1,000,000 on account of unpaid fees under that certain Management
    Services Agreement dated as of October 8, 2021 by and between Performance Powersports Group Purchaser, Inc.
    and Kinderhook Industries VI, L.P. shall be deemed allowed as against the Debtors or the Litigation Trust, as
    applicable, as a general unsecured Claim (the “Buyer GUC”) and Buyer shall constitute a “GUC Holder” on
    account of such Claim and be entitled to distributions from the Litigation Trust Proceeds in accordance with the
    terms hereof pro rata with other GUC Holders.


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                                                  ARTICLE I
                                                 DEFINITIONS

       For all purposes of this Litigation Trust Agreement, capitalized terms used and not
otherwise defined herein shall have the meanings ascribed to such terms in the APA.

                              ARTICLE II
         ESTABLISHMENT AND DECLARATION OF THE LITIGATION TRUST

       2.1      Establishment of the Litigation Trust and Appointment of the Litigation Trustee
and the Litigation Trust Oversight Committee.

                 (a)     Litigation Trust Assets & Litigation Trust Causes of Action. As used herein,
“Litigation Trust Assets” and “Litigation Trust Causes of Action” shall mean, collectively, any
and all Claims of the Debtors against Richard Godfrey, Todd Gentry, and Christopher Hunter and
affiliated entities of any nature (excluding, for the avoidance of doubt, any Claims against Rick
Canas, Paul Gift, Ron Lackey, and Kinderhook Industries, LLC or any of its Affiliates2).

               The Litigation Trust Causes of Action and Litigation Trust Assets shall not include
at any time (a) any Claims or Causes of Action against Kinderhook, any Kinderhook Affiliate or
any Kinderhook-Related Party3 (it being understood that Richard Godfrey, Todd Gentry, and
Christopher Hunter shall not be construed as Kinderhook-Related Parties), (b) any Claims or
Causes of Action of any nature against Rick Canas, Paul Gift, and Ron Lackey, or (c) any direct
Claims of Kinderhook.

               Notwithstanding anything to the contrary herein, (i) the Litigation Trust shall not
be assigned (and will not in the future be assigned), and shall not be authorized to bring any Claims
or Causes of Action of any nature other than the Litigation Trust Causes of Action, (ii) the
Litigation Trust shall not be assigned, and the Litigation Trust shall not be authorized to bring, any
Claim or Cause of Action that is released pursuant to the release approved in the Final DIP Order
(the “Debtor Releases”)4, and (iii) no party shall be permitted to assign or contribute any Claims,


2
    “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.
3
    “Related Party” means, each of, and in each case in its capacity as such, current and former directors, managers,
    officers, investment committee members, special or other committee members, equity holders (regardless of
    whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles, managed
    accounts or funds, predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited
    partners, general partners, principals, members, management companies, fund advisors or managers, employees,
    agents, trustees, advisory board members, financial advisors, attorneys (including any other attorneys or
    professionals retained by any current or former director or manager in his or her capacity as director or manager
    of an Entity), accountants, investment bankers, consultants, representatives, and other professionals and advisors
    and any such Person’s or Entity’s respective heirs, executors, estates, and nominees.
4
    “Final DIP Order” means the Final Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, and 507
    (I) Authorizing the Debtors to Obtain Senior and Junior Secured Superpriority Postpetition Financing;
    (II) Granting Liens and Superpriority Administrative Expense Claims; (III) Authorizing Use of Cash Collateral;
    (IV) Modifying the Automatic Stay; and (V) Granting Related Relief [Docket No. 269].


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causes of action, or assets, other than the Litigation Trust Assets and the Litigation Trust Causes
of Action, to the Litigation Trust.

                (b)     Establishment of Trust. Pursuant to the Plan and the order of the
Bankruptcy Court confirming the Plan, which shall be in form and substance acceptable to
Kinderhook in its sole discretion (the “Confirmation Order”) and in accordance with the applicable
provisions of the Bankruptcy Code, the Reorganized Debtors and the Litigation Trustee hereby
establish, as of the effective date of the Plan (as defined in the Plan, the “Effective Date”), the
Litigation Trust on behalf of and for the Litigation Trust Beneficiaries.

                (c)     Name and Office. This Litigation Trust shall be known as the
“PPG Litigation Trust,” in which name the Litigation Trustee may conduct the affairs of the
Litigation Trust. The office of the Litigation Trust shall be in care of the Litigation Trustee at its
trust office or at any other address that the Litigation Trustee may designate by written notice to
the Litigation Trust Beneficiaries.

                (d)    Appointment of the Litigation Trustee. The Litigation Trustee is hereby
appointed by the Debtors as trustee of the Litigation Trust, effective as of the Effective Date, and
shall have all the rights, powers, and duties set forth herein and pursuant to applicable law for
accomplishing the purposes of the Litigation Trust. The Litigation Trustee is, and any successor
trustee serving from time to time hereunder shall be, a “United States person” as such term is
defined in section 7701(a)(30) of the IRC. The Litigation Trustee is hereby authorized to file with
any governmental authority any documents necessary to establish the Litigation Trust.

               (e)     Appointment of the Litigation Trust Oversight Committee. The Litigation
Trust Oversight Committee (each such Person and any other Person appointed to be a member of
the Litigation Trust Oversight Committee pursuant to the Plan, the Confirmation Order, and this
Litigation Trust Agreement, a “Member”) is hereby appointed, effective as of the Effective Date,
pursuant to the terms and conditions set forth in Section 8.1(a) of this Litigation Trust Agreement.

                (f)    Acceptance of the Litigation Trust. The Litigation Trustee hereby agrees to
accept and hold the Litigation Trust Assets in trust for the Litigation Trust Beneficiaries, subject
to the provisions of the Plan, the Confirmation Order, and this Litigation Trust Agreement, and
shall serve in accordance with the terms of this Litigation Trust Agreement.

               (g)     Incidents of Ownership. The Litigation Trust Beneficiaries shall be the sole
beneficiaries of the Litigation Trust and the Litigation Trust Property, and the Litigation Trustee
shall retain only such incidents of ownership as are necessary to undertake the actions and
transactions authorized herein and in the Plan, including but not limited to, those powers set forth
in Article V herein.

                (h)     No Reversion to the Debtors or the Reorganized Debtors. In no event shall
any part of the Litigation Trust Property revert to or be distributed to any of the Debtors or any of
the Reorganized Debtors.

                (i)     Duties of the Debtors or the Reorganized Debtors; Reimbursement of
Expenses. The Debtors or the Reorganized Debtors shall have no responsibility or obligation with
respect to the Litigation Trust Causes of Action after the Effective Date, other than (i) to comply
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with Section 2.2 herein; (ii) following any transfers of cash or other property to the
Litigation Trust, to provide, or cause to be provided, the Litigation Trustee with any reports or
statements required under the Treasury Regulations; and (iii) otherwise to use reasonable efforts
to cooperate with the Litigation Trustee.

                (j)     Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to
hear, determine and, if applicable, enforce the terms of, any and all matters arising from or related
to the Litigation Trust.

         2.2    Transfer of the Litigation Trust Assets.

                (a)     Transfer of the Litigation Trust Causes of Action. Pursuant to the Plan, as
of the Effective Date, in partial satisfaction of all allowed general unsecured Claims, the Debtors,
the Reorganized Debtors, and Kinderhook shall irrevocably and absolutely transfer, assign,
convey, and deliver, and shall be deemed to have transferred, assigned, conveyed, and delivered,
to the Litigation Trust, in trust to and for the benefit of the Litigation Trust Beneficiaries for the
uses and purposes stated herein, without recourse, all of their respective rights, title, and interests
(whether legal, beneficial, or otherwise) in and to any and all Litigation Trust Causes of Action,
including any and all claims therein, free and clear of any and all liens, claims, encumbrances, or
interests of any kind in such property of the Debtors, the Reorganized Debtors, Kinderhook, or
any other Person or Entity. With respect to the Debtors and Reorganized Debtors, the transfer,
assignment, conveyance, and delivery described in the foregoing sentence shall include, without
limitation, any and all attorney-client privileges, work-product privileges, or any other evidentiary
privileges or immunity (collectively, the “Transferred Privileges”) in respect of the Litigation
Trust Causes of Action that, prior to the Effective Date, belonged to the Debtors or Kinderhook
pursuant to applicable federal, state and other law, which shall vest in the Litigation Trust, in trust,
and, consistent with sections 1123(a)(5)(B) and 1123(b)(3)(B) of the Bankruptcy Code, for the
sole benefit of the Litigation Trustee and the Litigation Trust Beneficiaries. To the extent any
Litigation Trust Causes of Action cannot be transferred to the Litigation Trust because of a
restriction on transferability under applicable nonbankruptcy law that is not superseded or
preempted by section 1123 of the Bankruptcy Code or any other provision of the Bankruptcy Code,
such Litigation Trust Causes of Action shall be deemed to have been retained by the Debtors, the
Reorganized Debtors, or Kinderhook, as applicable, and the Litigation Trustee shall be deemed to
have been designated as a representative of the Debtors, the Reorganized Debtors, or Kinderhook,
as applicable, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code to enforce and pursue
such Litigation Trust Causes of Action on behalf of the Debtors, the Reorganized Debtors, or
Kinderhook. Notwithstanding the foregoing, all net proceeds of such Litigation Trust Causes of
Action shall be transferred to the Litigation Trust to be distributed to holders of the Litigation Trust
Interests consistent with the Plan and this Litigation Trust Agreement.

               (b)     Transfer of Documents and Information. For so long as the Litigation Trust
exists, the Debtors and the Reorganized Debtors shall (i) ensure that any and all documents and
information relating to the Litigation Trust Causes of Action (including those maintained in
electronic format and original documents) that are in their possession, custody or control are
preserved or transferred to the Litigation Trust, (ii) upon the request of the Litigation Trustee,
provide such documents or information to the Litigation Trust, and (iii) upon the request of the
Litigation Trustee, provide access to the Litigation Trust to the Debtors’ or Reorganized Debtors’

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agents, advisors, attorneys, accountants or any other professionals employed, retained or consulted
by the Debtors or the Reorganized Debtors with knowledge of matters relevant to the Litigation
Trust Causes of Action, including by making such parties available to provide deposition, trial or
other testimony in connection with the Litigation Trust Causes of Action. Upon the request of the
Litigation Trustee, to the extent permitted by law, the Debtors or the Reorganized Debtors, as
applicable, shall provide the Litigation Trustee with a list of all documents and information relating
to the Litigation Trust Causes of Action in the Debtors’ or the Reorganized Debtors’ possession,
custody or control (including documents or information held by the Debtors or the Reorganized
Debtors, or any of their employees, agents, advisors, attorneys, accountants or any other
professionals). Such list shall contain a description of each document, to the extent feasible and
permitted by law, as well as the name of the Person or Entity holding such document. With the
exception of publicly available information, upon the request of the Litigation Trustee, the Debtors
or the Reorganized Debtors, as applicable, shall promptly provide to the Litigation Trustee such
documents or information (including those maintained in electronic format and original
documents), whether held by any of them or any of their respective agents, advisors, attorneys,
accountants or other professionals. Notwithstanding the foregoing provisions of this paragraph,
in the event the Debtors or the Reorganized Debtors, as applicable, determine that any such
provision of information violates any law or legal proceeding or waives any applicable privilege,
protection or immunity (other than any privilege, protection, or immunity that is a Transferred
Privilege), the Debtors or the Reorganized Debtors shall take all reasonable measures to provide
such information in a manner that avoids any such harm or consequence, including retention of
the specific files.

               (c)    As soon as practicable following the Effective Date, the Debtors and
Kinderhook shall transfer to the Litigation Trust all insurance policies relevant to the Litigation
Trust’s prosecution of the Litigation Trust Causes of Action, including, without limitation, the
Debtor’s director & officer liability policies; provided, however, that such insurance policies do
not include the representation and warranty coverage under the Representations and Warranties
Insurance Policy.

                 (d)     At the reasonable request and upon reasonable advance written notice of the
Litigation Trustee, the Debtors, the Reorganized Debtors, and Kinderhook, and any party under
their control shall, at the cost and expense of the Litigation Trust, (i) execute and/or deliver any
instruments, documents, books, and records (including those maintained in electronic format and
original documents as may be needed), (ii) take, or cause to be taken, all such further actions
necessary or as the Litigation Trustee may reasonably request in order to evidence or effectuate
the transfer of the Litigation Trust Causes of Action and the Transferred Privileges to the Litigation
Trust and the consummation of the transactions contemplated hereby and by the Plan and to
otherwise carry out the intent of the parties hereunder and under the Plan, and (iii) cooperate with
the Litigation Trustee in the prosecution of the Litigation Trust Causes of Action. Notwithstanding
anything to the contrary herein, with the exception of the Transferred Privileges, which shall vest
exclusively in the Litigation Trust following the Effective Date, nothing contained in this
Litigation Trust Agreement shall restrict the Debtors’, the Reorganized Debtors’, or Kinderhook’s
ability to use any of their own instruments, documents, books, records, and work product.




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         2.3    Funding of the Litigation Trust.

                 (a)     On the Effective Date, subject to the satisfaction (or waiver by Kinderhook
in its sole discretion) of the Funding Conditions (as defined below), CPS USA Acquisition, LLC
(the “Litigation Trust Initial Funder”) will provide to the Litigation Trust financing (the “Initial
Funding”), deposited into the Litigation Trust Account (as defined in Section 6.1(e) herein),
comprised of $500,000.00 in the form of a loan to the Litigation Trust pursuant to the litigation
trust note attached hereto as Exhibit A (the “Litigation Trust Note,” and such funding thereunder,
the “Initial Note Funding”). It is acknowledged and understood by the Parties that
(a), contemporaneously with the closing of the Sale, Kinderhook provided to the Debtors financing
comprised of $750,000.00 in cash in accordance with the APA, which is intended to be provided
by the Debtors to the Litigation Trust to administer the Litigation Trust and pay for the Litigation
Trust’s fees, expenses, and costs in accordance with Section 2.3(c) and (b) Kinderhook shall have
no obligation to provide financing to the Litigation Trust other than the Initial Funding on the
Effective Date and subject to the satisfaction (or waiver by Kinderhook in its sole discretion) of
the Funding Conditions.

                (b)    “Funding Conditions” means, collectively, (i) the Litigation Trust Note, in
form and substance acceptable to Kinderhook in its sole discretion, shall have been approved by
order of the Bankruptcy Court and executed and delivered by all parties thereto and shall be in full
force and effect, and no amendment, supplement or modification thereof shall have been entered
into without the written approval of Kinderhook in its sole discretion; (ii) the Bankruptcy Court
shall have entered the Confirmation Order approving the Plan, each in form and substance
acceptable to Kinderhook in its sole discretion, and such Confirmation Order shall be in full force
and effect and shall not have been vacated, reversed, modified amended or stayed and not be
subject to a pending appeal or motion or motion for leave to appeal or other proceeding to set aside
such order or to challenge the relief provided for in such order; (iii) the “effective date” of the Plan
(as defined in the Plan) shall have occurred or shall occur concurrently with the date of the Initial
Funding.

                 (c)    The proceeds of the Initial Funding shall be used to administer the Litigation
Trust and pay the reasonable, documented, out-of-pocket fees, expenses, and costs of the Litigation
Trust incurred after the Effective Date, including, without limitation, (i) the reasonable,
documented, out-of-pocket fees and expenses incurred after the Effective Date by advisors or
professionals retained by the Litigation Trustee (collectively, the “Litigation Trust Professionals”),
(ii) the Litigation Trustee Fees (as defined herein), and (iii) any costs incurred by the Litigation
Trust after the Effective Date as a result of the chapter 11 case of Performance Powersports Group
Investor, LLC remaining open after the other Debtors’ Chapter 11 Cases are closed (collectively,
the “Litigation Trust Fees and Expenses”).

                (d)    The Litigation Trustee shall be authorized to seek supplemental or
alternative funding for the Litigation Trust (the “Supplemental Funding,” and such financiers, the
“Litigation Trust Supplemental Funders,” and together with the Litigation Trust Initial Funders,
the “Litigation Trust Funders”) in the event that the Litigation Trustee, after consultation with the
Litigation Trust Oversight Committee, determines at any time that additional funding is necessary
to administer the Litigation Trust in accordance with this Litigation Trust Agreement.


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                (e)     The Litigation Trust Funders shall irrevocably and absolutely transfer to the
Litigation Trust the Initial Funding and any Supplemental Funding in trust to and for the benefit
of the Litigation Trust Beneficiaries for the uses and purposes stated herein.

                (f)     The Initial Note Funding shall be entitled to a preferred return as set forth
in the Litigation Trust Note. For the avoidance of doubt and notwithstanding any provision herein
to the contrary, the Litigation Trust shall not make any distributions to the Litigation Trust
Beneficiaries nor repay any part of any Supplemental Funding unless and until the Initial Note
Funding has been repaid in full in accordance with the stated terms of the Litigation Trust Note
(the “Initial Note Funding Reimbursement”). For the further avoidance of doubt, amounts payable
in respect of Contingency Fees (as defined below) shall not be applied towards the payment of the
Initial Note Funding Reimbursement, and the Litigation Trust may pay any Contingency Fees to
the applicable Litigation Trust Professional in accordance with the terms and conditions of the
applicable fee agreement between the Litigation Trust and such Litigation Trust Professional,
which payment shall not be considered a breach of the previous sentence.

               (g)     All Litigation Trust Proceeds received by the Litigation Trust from the
pursuit of any Litigation Trust Causes of Action, net of any amounts payable out of any such
proceeds to any Litigation Trust Professional pursuant to a contingency fee arrangement (such
amounts, “Contingency Fees”), and which are payable under such agreement only upon collection
of any such proceeds, shall be added to the Litigation Trust Property and held as a part thereof
(and title thereto shall be vested in the Litigation Trust). For the avoidance of doubt, the
Litigation Trust may pay any Contingency Fees to the applicable Litigation Trust Professional in
accordance with the terms and conditions of the applicable fee agreement between the
Litigation Trust and such Litigation Trust Professional.

                (h)     The Litigation Trustee may incur any reasonable and necessary expenses in
connection with the performance of its duties under the Plan, the Confirmation Order, and this
Litigation Trust Agreement, including in connection with retaining Litigation Trust Professionals
and/or entering into agreements pursuant to Sections 5.6(a) and 5.6(b) herein. All Litigation Trust
Fees and Expenses shall be paid by, and solely be the obligation of, the Litigation Trust. All
Litigation Trust Fees and Expenses shall be paid by the Litigation Trust from the proceeds of the
Initial Funding and any Supplemental Funding, and, to the extent not paid in full following such
payment, and subject to Section (j) herein, the Litigation Trust Proceeds. After payment in full of
the Initial Note Funding Reimbursement and Litigation Trust Fees and Expenses, and in
accordance with Section 6.1 herein, the Litigation Trustee, after consultation with the Litigation
Trust Oversight Committee, may elect to reserve and withhold from any distributions to the
Litigation Trust Beneficiaries such amounts as the Litigation Trustee, after consultation with the
Litigation Trust Oversight Committee, in his/her business judgement, deems necessary and proper
to fund any Litigation Trust Fees and Expenses reasonably projected to be incurred, in connection
with prosecuting, settling, or otherwise monetizing the Litigation Trust Causes of Action and
distributing the Litigation Trust Proceeds.

                 (i)    In the event that the Litigation Trust Proceeds are insufficient to satisfy in
full the Initial Note Funding Reimbursement, then the Litigation Trust Proceeds shall be allocated
ratably among the Litigation Trust Funders, unless the Litigation Trustee, after consultation with


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the Litigation Trust Oversight Committee, determines otherwise in the exercise of his/her fiduciary
duties.

               (j)     Any failure or inability of the Litigation Trustee to obtain funding for the
Litigation Trust will not affect the enforceability of the Litigation Trust.

         2.4    Title of Litigation Trust Property.

                (a)     Upon the Effective Date, title to the Litigation Trust Property shall pass to
the Litigation Trust free and clear of all claims and equity interests in accordance with section 1141
of the Bankruptcy Code.

                 (b)    Upon the transfer to the Litigation Trust of the Litigation Trust Property,
(i) the Litigation Trustee, on behalf of the Litigation Trust Beneficiaries, shall succeed to all of the
Debtors’ and the Reorganized Debtors’ rights, title, and interests in and to the Litigation Trust
Property and to all of Kinderhook’s rights, title, and interests in and to the Litigation Trust Causes
of Action, and the Debtors, the Reorganized Debtors, or Kinderhook shall have no further interests
or rights in or with respect to the Litigation Trust Property or Litigation Trust Causes of Action,
as applicable, or the Litigation Trust, except as expressly set forth herein, and (ii) no creditor of or
holder of a claim against or interest in any Debtor or any Reorganized Debtor (other than the
Litigation Trust Beneficiaries in their capacities as such) will have any claim against or recourse
to the Litigation Trust or any of the Litigation Trust Property. The Litigation Trustee on behalf of
the Litigation Trust as successor-in-interest to the Debtors’ estates (for the limited purpose of
fulfilling the Litigation Trustee’s duties under this Litigation Trust Agreement) may execute and
deliver any instruments, documents, books, and records (including those maintained in electronic
format and original documents as may be needed), and take, or cause to be taken, all such further
action in order to evidence, vest, perfect or effectuate the transfer of the Litigation Trust Property
to the Litigation Trust and consummation of the transactions contemplated hereby and by the Plan.

                (c)     With respect to all Litigation Trust Property, the Litigation Trustee will
directly and indirectly be the representative of each Debtor’s estate, as that term is used in section
1123(b)(3)(B) of the Bankruptcy Code, and will have the rights and powers provided for in the
Bankruptcy Code, including section 1107 thereof, in addition to any rights and powers granted in
this Litigation Trust Agreement and in the Plan. The Litigation Trust will be the
successor-in-interest to each of the Debtors with respect to any action that was or could have been
commenced by any of the Debtors prior to the Effective Date that is a Litigation Trust Cause of
Action and shall be deemed substituted for the same as the party in such litigation. The Litigation
Trust may enforce, sue on, settle or compromise (or decline to do any of the foregoing) all claims,
rights or causes of actions, suits and proceedings, whether in law or in equity, whether known or
unknown, that any Debtor or its estate may hold against any Person or Entity, that constitute
Litigation Trust Causes of Action, in accordance with the terms of this Litigation Trust Agreement
including, but not limited to, Section 5.2 herein. All Litigation Trust Causes of Action are
preserved and retained and may be enforced by the Litigation Trust as the representative of each
Debtor’s estate pursuant to section 1123(b)(3)(B) of the Bankruptcy Code. The Litigation Trustee
will be a party in interest as to all matters over which the Bankruptcy Court has jurisdiction or
retains jurisdiction under the Plan insofar as such matters affect the Litigation Trust or the
Litigation Trust Property.

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                                ARTICLE III
                 NATURE AND PURPOSE OF THE LITIGATION TRUST

         3.1    Purpose.

                (a)     The Litigation Trust is established solely for the purposes of (i) serving as
a mechanism for prosecuting all Litigation Trust Causes of Action, monetizing the Litigation Trust
Assets, and distributing the Litigation Trust Proceeds in a timely fashion (A) to pay the Initial Note
Funding Reimbursement and (B) to and for the benefit of the Litigation Trust Beneficiaries in
accordance with the Plan, the Confirmation Order, and this Litigation Trust Agreement and
(ii) liquidating and administering the Litigation Trust Property in accordance with Treasury
Regulation section 301.7701-4(d), with no objective to continue or engage in the conduct of a trade
or any other business, except to the extent reasonably necessary to, and consistent with, the purpose
of the Litigation Trust. The Litigation Trustee shall, in an expeditious and orderly manner,
monetize and convert the Litigation Trust Property to Cash and make timely distributions to the
holders of Litigation Trust Interests, in the manner and in the proportions set forth herein.

               (b)     The Litigation Trustee shall prosecute or resolve the Litigation Trust Causes
of Action with the goal of ensuring that any resolution or recovery is Cash and/or cash equivalents.

                (c)     The Litigation Trustee shall be obligated to make continuing reasonable
efforts to timely resolve all claims related to or comprising the Litigation Trust Causes of Action
and not unreasonably prolong the duration of the Litigation Trust. The liquidation of the
Litigation Trust Causes of Action may be accomplished either through the prosecution,
compromise and settlement, abandonment or dismissal of any or all claims or Causes of Action or
otherwise, in accordance with the Plan, the Confirmation Order, and this Litigation Trust
Agreement.

         3.2    Relationship. This Litigation Trust Agreement is intended to create a trust and a
trust relationship and to be governed and construed in all respects as a trust. The Litigation Trust
is not intended to be, and shall not be deemed to be or treated as, a general partnership, limited
partnership, joint venture, corporation, joint stock company or association, nor shall the
Litigation Trustee, the Litigation Trust Oversight Committee (or any Member thereof), or the
Litigation Trust Beneficiaries for any purpose be, or be deemed to be or treated in any way
whatsoever to be, liable or responsible hereunder as partners or joint venturers. The relationship
of the Litigation Trust Beneficiaries, on the one hand, to the Litigation Trustee and the
Litigation Trust Oversight Committee, on the other hand, shall be solely that of a beneficiary of a
trust and shall not be deemed a principal and agency relationship, and their rights shall be limited
to those conferred upon them by the Plan, the Confirmation Order and this Litigation Trust
Agreement.

       3.3     Relationship to and Incorporation of the Plan and the Confirmation Order. The
principal purpose of this Litigation Trust Agreement is to aid in the implementation of the Plan
and the Confirmation Order, and therefore this Litigation Trust Agreement incorporates the
provisions thereof by reference. If any provisions of this Litigation Trust Agreement are found to
be inconsistent with the provisions of the Plan or the Confirmation Order, each such document


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shall have controlling effect in the following rank order: the Confirmation Order, the Plan, this
Litigation Trust Agreement.

       3.4      Conflict of a Member Litigation Trust Oversight Committee Member. If a Member
has a conflict of interest with respect to any matters under this Litigation Trust Agreement, such
Member shall recuse himself/herself from consideration of, or decision on, such matter. If such
Member refuses to do so, the Litigation Trustee, upon the advice of counsel and in consultation
with the other non-conflicted Members, may remove such Member from consideration of, or
decision on, such matter.

                                       ARTICLE IV
                               LITIGATION TRUST INTERESTS

         4.1    Rights of Holders of the Litigation Trust Interests.

                (a)     Each Litigation Trust Beneficiary shall be a holder of Litigation Trust
Interests in proportion to its right to distributions from the Litigation Trust under Article VI herein.
On the date hereof, the Litigation Trust shall issue the Litigation Trust Interests to the
Litigation Trust Beneficiaries in accordance with the terms of the Plan, the Confirmation Order,
and this Litigation Trust Agreement.

                (b)     A holder of a Litigation Trust Interest shall have no title to, right to,
possession of, management of, or control of, the Litigation Trust Property, except as expressly
provided herein. No surviving spouse, heir or devisee of any deceased holder of a Litigation Trust
Interest shall have any right of dower, homestead, or inheritance, or of partition, or any other right,
statutory or otherwise, in the Litigation Trust Property, but the whole title to all the Litigation Trust
Property shall be vested in the Litigation Trust and the sole interest of the holders of
Litigation Trust Interests shall be the rights and benefits given to such persons under this
Litigation Trust Agreement. The record holder of Litigation Trust Interests will be entitled to
participate in the rights due to a holder of Litigation Trust Interests hereunder.

         4.2    No Legal Title in Holders of Litigation Trust Interests.

                 (a)    The ownership of the beneficial interests in the Litigation Trust shall not
entitle the Litigation Trust Beneficiaries to any title in or to the Litigation Trust Property as such
(which title shall be vested in the Litigation Trust) or to any right to call for a partition or division
of the Litigation Trust Property or to require an accounting.

                (b)     No transfer by operation of law or otherwise of the right, title and interest
of any holder of a Litigation Trust Interest in and to the Litigation Trust Property or hereunder
shall operate to terminate this Litigation Trust or entitle any successor or transferee of such holder
of a Litigation Trust Interest to an accounting or to the transfer to it of legal title to any part of the
Litigation Trust Property.

                (c)      The beneficial interests in the Litigation Trust will be represented by book
entries on the books and records of the Litigation Trust. The Litigation Trust will not issue any
certificate or certificates to evidence any beneficial interests in the Litigation Trust. Each holder
of a Litigation Trust Interest shall take and hold its uncertificated beneficial interest subject to all

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of the terms and provisions of this Litigation Trust Agreement, the Confirmation Order, and the
Plan. The interest of a holder of a Litigation Trust Interest is in all respects personal property, and
upon the death, insolvency or incapacity of an individual holder of a Litigation Trust Interest, such
holder’s interest shall pass to the legal representative of such holder of a Litigation Trust Interest
and such death, insolvency or incapacity shall not terminate or affect the validity of this
Litigation Trust Agreement.

         4.3    Registry of Beneficial Interests.

                (a)    The Litigation Trustee shall appoint a registrar, which may be the Litigation
Trustee (the “Registrar”), for the purpose of recording ownership of the Litigation Trust Interests
as herein provided. The Registrar, if other than the Litigation Trustee, shall be an institution
acceptable to the Litigation Trustee, after consultation with the Litigation Trust Oversight
Committee. For its services hereunder, the Registrar, unless it is the Litigation Trustee, shall be
entitled to receive reasonable compensation from the Litigation Trust as a cost of administering
the Litigation Trust.

                (b)     The Litigation Trustee shall cause to be kept at the office of the Registrar,
or at such other place or places as shall be designated by the Registrar from time to time and
acceptable to the Litigation Trust Oversight Committee, a registry of the Litigation Trust
Beneficiaries (the “Trust Register”), which shall be maintained pursuant to such reasonable
regulations as the Litigation Trustee and the Registrar may prescribe.

                (c)     The Litigation Trust Beneficiaries and their duly authorized representatives
shall have the right, upon reasonable prior written notice to the Registrar and the Litigation Trustee,
and in accordance with the reasonable regulations prescribed by the Registrar and the Litigation
Trustee, to inspect and, at the sole expense of the Litigation Trust Beneficiary seeking the same,
make copies of the Trust Register, in each case for a purpose reasonably related to such Litigation
Trust Beneficiary’s interest in the Litigation Trust.

                (d)    Except as otherwise required by law, references in this Litigation Trust
Agreement to the identification of holders and the providing of information to holders shall be read
to mean holders of record as set forth in the Trust Register maintained by the Registrar, which may
be the Litigation Trustee, and shall not mean any beneficial owner not recorded on such Trust
Register. Unless expressly provided herein, the Litigation Trustee may establish a record date,
which it deems practicable for determining the holders for a particular purpose. The distribution
of Litigation Trust Interests to the holders of Litigation Trust Interests shall be accomplished as
set forth herein.

         4.4    Exemption From Registration.

                (a)     The Litigation Trust Interests have not been registered pursuant to the
Securities Act of 1933, as amended, (the “Securities Act”) or any state securities law. It is intended
that the Litigation Trust Interests shall not constitute “securities” under applicable laws. To the
extent the Litigation Trust Interests are deemed to be “securities” under applicable laws, the
issuance of the Litigation Trust Interests to GUC Holders under the Plan shall be exempt, pursuant
to section 1145 of the Bankruptcy Code, from registration under the Securities Act and any

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applicable state and local laws requiring registration of securities. If the Litigation Trustee
determines, with the advice of counsel, that the Litigation Trust is required to comply with
registration, reporting, or other requirements of the Securities Exchange Act of 1934, as amended
(the “Exchange Act”), or the Investment Company Act of 1940, as amended (the “Investment
Company Act”), then the Litigation Trustee shall take any and all actions to comply with such
requirements, if any, and file periodic reports with the Securities and Exchange Commission (the
“SEC”), or may seek exemption from the SEC therefor, and, if granted, shall comply with the
terms of any such exemption.

                (b)    The Litigation Trustee shall notify all Litigation Trust Beneficiaries of the
procedures governing the registration and transfer of beneficial Litigation Trust Interests (any
transfer permitted pursuant to such procedure, a “Permitted Transfer”). Absent unanimous consent
from the Litigation Trust Oversight Committee and the Litigation Trustee, the Litigation Trust
Interests shall not be capable of being sold, transferred, assigned, pledged or hypothecated, in
whole or in part, to any Person or Entity in the same industry as the Debtors or the Reorganized
Debtors, that owns a 10 percent or greater interest in an Entity in the same industry as the Debtors
or Reorganized Debtors, or is likely to be a defendant in any action commenced by the Litigation
Trust. Any purported sale, transfer, assignment, pledge or hypothecation of a Litigation Trust
Interest or any part thereof in contravention of the forgoing shall constitute a violation of this
Section (b) and shall be void ab initio.

                (c)     Notwithstanding the foregoing Section (b), no indirect or direct transfer of
a Litigation Trust Interest shall be permitted by the Litigation Trust Oversight Committee if such
transfer would (i) be contrary to maintaining the Litigation Trust as a liquidating trust for federal
income tax purposes in accordance with Treasury Regulation section 301.7701-4(d) and as one or
more “grantor trusts” subject to the provisions of Chapter 1, Subchapter J, Part I, Subpart E of the
IRC; (ii) cause the record number of holders of Litigation Trust Interests to exceed the applicable
threshold for registration under the Exchange Act, or if the Litigation Trust Oversight Committee
otherwise determines that such transfer could result in the Litigation Trust being required to file
reports under the Exchange Act, if it is not otherwise subject to such requirements; (iii) such
transfer would violate the Securities Act or applicable federal and state securities or blue sky laws;
(iv) such transfer would cause the Litigation Trust to be required to register as an investment
company under the Investment Company Act; or (v) such transfer would cause the Litigation Trust
Property to be deemed “Plan Assets” as defined under the Employee Retirement Income Security
Act of 1974, as amended, or its accompanying regulations, or result in any “prohibited transaction”
thereunder involving the Litigation Trust.

                 (d)    The Litigation Trustee, in consultation with the Litigation Trust Oversight
Committee, may amend this Litigation Trust Agreement in accordance with Article XII herein to
make such changes as are deemed necessary or appropriate, with the advice of counsel, to ensure
that the Litigation Trust is not subject to registration and/or reporting requirements of the Securities
Act, the Exchange Act, the Investment Company Act, or the Trust Indenture Act of 1939, as
amended. The Litigation Trust Interests shall not have consent or voting rights or otherwise confer
on the Litigation Trust Beneficiaries any rights similar to the rights of a shareholder of a
corporation in respect of any actions taken or to be taken by the Litigation Trust Oversight
Committee and/or the Litigation Trustee in connection with the Litigation Trust. Neither the
Litigation Trust Oversight Committee nor the Litigation Trustee shall take any action to establish

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or support the establishment of an active trading market with respect to the Litigation Trust
Interests. Notwithstanding anything in this Litigation Trust Agreement to the contrary (including
in this Section (d)), no amendment, modification or change to the form of the Litigation Trust or
this Litigation Trust Agreement shall be made which will have any material adverse impact on the
Transferred Privileges or cause or result in any required disclosure of Litigation Trust Causes of
Actions materials without the prior written consent of the Parties hereto.

         4.5    Miscellaneous Matters Regarding Holders of Litigation Trust Interests.

                (a)     Notwithstanding anything to the contrary contained herein, the
Litigation Trustee shall not provide or disclose any information that it reasonably believes is
privileged or otherwise protected from discovery without first ensuring that inclusion of that
information will not waive any such privilege or protection. Subject to the foregoing sentence, the
Litigation Trustee may, but is not required to, post any such report on a limited-access website
maintained by the Litigation Trustee and available to the Litigation Trust Beneficiaries. To the
extent specifically authorized by a Litigation Trust Beneficiary, the posting of any such report may
be in lieu of providing a copy to the Litigation Trust Beneficiary (unless otherwise required by
law).

        4.6     Effect of Death, Incapacity or Bankruptcy. The death, incapacity or bankruptcy of
any Litigation Trust Beneficiary during the term of the Litigation Trust shall not (a) operate to
terminate the Litigation Trust, (b) entitle the representatives or creditors of the deceased,
incapacitated or bankrupt party to an accounting, (c) entitle the representatives or creditors of the
deceased, incapacitated or bankrupt party to take any action in the Bankruptcy Court or elsewhere
for the distribution of the Litigation Trust Assets or for a partition thereof, or (d) otherwise affect
the rights and obligations of any of the Litigation Trust Beneficiaries under this Litigation Trust
Agreement.

        4.7     Change of Address. Any Litigation Trust Beneficiaries may, after the
Effective Date, select an alternative distribution address by providing notice to the
Litigation Trustee or, as applicable, the Registrar, identifying such alternative distribution address.
Such notification shall be effective only upon receipt by the Litigation Trustee or, as applicable,
the Registrar. Absent actual receipt of such notice by the Litigation Trustee or, as applicable, the
Registrar, the Litigation Trustee shall not recognize any such change of distribution address.

                              ARTICLE V
     AUTHORITY, LIMITATIONS, AND DUTIES OF THE LITIGATION TRUSTEE

         5.1    Authority of the Litigation Trustee.

               (a)     Role of the Litigation Trustee. In furtherance of and consistent with the
purpose of the Litigation Trust and the Plan, subject to the terms and conditions contained in the
Plan, the Confirmation Order, and this Litigation Trust Agreement, the Litigation Trustee shall,
subject to the oversight of the Litigation Trust Oversight Committee set forth herein, have the
power to perform any and all acts necessary or desirable to accomplish the purposes of the
Litigation Trust. Without limiting, but subject to, the foregoing and to Section 5.2 herein, the



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Litigation Trustee shall be expressly authorized, but shall not be required, in each case upon
reasonable consultation with the Litigation Trust Oversight Committee, to:

                       (i)    receive, manage, supervise, and protect the Litigation Trust Property
upon its receipt of same on behalf of and for the benefit of the Litigation Trust Beneficiaries;

                       (ii)   hold legal title to any and all rights of the holders of the Litigation
Trust Interests in or arising from the Litigation Trust Property, including, but not limited to,
collecting and receiving any and all money and other property belonging to the Litigation Trust
(including any Litigation Trust Proceeds);

                       (iii) perform the duties, exercise the powers, and assert the rights of a
trustee under sections 704 and 1106 of the Bankruptcy Code with respect to the Litigation Trust
Assets, including, but not limited to, commencing, prosecuting or settling causes of action,
enforcing contracts or asserting claims, defenses, offsets and privileges;

                      (iv)   protect and enforce the rights of the Litigation Trust in and to the
Litigation Trust Property by any method deemed reasonably appropriate including, without
limitation, by judicial proceedings or pursuant to any applicable bankruptcy, insolvency,
moratorium, or similar law (whether foreign or domestic) and general principles of equity;

                        (v)      subject to Section 5.2 below, investigate, analyze, compromise,
adjust, arbitrate, mediate, sue on or defend, pursue, prosecute, abandon, dismiss, exercise rights,
powers, and privileges with respect to or otherwise deal with and settle, in accordance with the
terms set forth in this Litigation Trust Agreement, the Litigation Trust Causes of Action;

                        (vi)    subject to applicable law, seek the examination of any Person or
Entity, with respect to the Litigation Trust Causes of Action;

                      (vii) determine and satisfy any and all liabilities created, incurred or
assumed by the Litigation Trust, subject to Article X herein;

                       (viii) liquidate and convert the Litigation Trust Property to Cash and pay
the Initial Note Funding Reimbursement and make timely distributions to the Litigation Trust
Beneficiaries, in accordance with the Litigation Trust Note and this Litigation Trust Agreement;

                        (ix)    prepare, or have prepared, and file, if necessary, any and all tax
returns, information returns, and other required documents with respect to the Litigation Trust
(including, without limitation, U.S. federal, state, local or foreign tax or information returns
required to be filed by the Litigation Trust) and pay taxes properly payable by the Litigation Trust,
if any, and cause all taxes payable by the Litigation Trust, if any, to be paid exclusively out of the
Litigation Trust Property;

                       (x)    request any appropriate tax determination with respect to the
Litigation Trust, including, without limitation, a determination pursuant to section 505 of the
Bankruptcy Code;



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                        (xi)    make tax elections by and on behalf of the Litigation Trust, which
are deemed by the Litigation Trustee, either independently or with the advice of Litigation Trust
Professionals, to be in the best interest of maximizing the liquidation value of the Litigation Trust
Property;

                        (xii) assert, enforce, release, or waive any privilege (including the
Transferred Privileges) or defense on behalf of the Litigation Trust, the Litigation Trust Causes of
Action, or the Litigation Trust Beneficiaries, as applicable;

                      (xiii) pay all expenses and make all other payments relating to the
Litigation Trust Property, including the liquidation and distribution thereof;

                       (xiv) obtain reasonable insurance coverage with respect to the liabilities
and obligations of the Litigation Trustee and the Litigation Trust Oversight Committee under this
Litigation Trust Agreement (in the form of, among other things, an errors and omissions policy or
otherwise), except to the extent that the liabilities and obligations of the Litigation Trustee or
Members of the Litigation Trust Oversight Committee are covered by other applicable insurance
available from other sources, and indemnification for the Litigation Trustee and the Members of
the Litigation Trust Oversight Committee and others as provided for in Section 10.2 herein;

                        (xv) subject to Section 5.2 below, retain and pay third-party providers of
professional services, including, but not limited to, attorneys, accountants, and other professionals
reasonably necessary to accomplish the purposes of the Litigation Trust;

                      (xvi) invest any moneys held as part of the Litigation Trust (including any
earnings thereon or proceeds therefrom) in accordance with the terms of Section 5.6(d) herein,
limited, however, to such investments that are consistent with the Litigation Trust’s status as a
liquidating trust within the meaning of Treasury Regulation section 301.7701-4(d) and in
accordance with Revenue Procedure 94-45, 1994-2 C.B. 684;

                    (xvii) open and maintain bank accounts and deposit funds, draw checks
and make disbursements in accordance with the Plan and this Litigation Trust Agreement;

                       (xviii) enforce, waive, assign or release rights, privileges or immunities of
any kind;

                       (xix)   seek any relief from, or resolution of, any disputes by the
Bankruptcy Court;

                      (xx) appear and participate in any proceeding before the
Bankruptcy Court with respect to any matter regarding or relating to the Plan (insofar as it affects
the Litigation Trust or the Litigation Trust Property), the Litigation Trust, the Litigation Trust
Oversight Committee, or the Litigation Trust Causes of Action;

                       (xxi) establish and maintain a website for the purpose of providing notice
of the Litigation Trust activities in addition to notice by other means or, to the extent specifically
authorized by any given holder of Litigation Trust Interests, in lieu of notice by other means,
subject to providing notice to those Parties referred to in Section 13.4 herein;

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                        (xxii) file any and all documents and take or refrain from taking any and
all actions the Litigation Trustee reasonably deems necessary for the continuation, protection,
distribution, liquidation, and maximization of the Litigation Trust Property consistent with the
purposes hereof;

                      (xxiii) do any and all things necessary to accomplish the purposes of this
Litigation Trust Agreement; and

                      (xxiv) exercise such other powers as may be vested in the Litigation
Trustee pursuant to the Plan, the Confirmation Order, this Litigation Trust Agreement, any order
of the Bankruptcy Court or as otherwise determined by the Litigation Trustee to be reasonably
necessary and proper to carry out the obligations of the Litigation Trustee in relation to the
Litigation Trust.

                (b)   The Litigation Trustee, in consultation with and subject to the approval of
the Litigation Trust Oversight Committee as may be provided in this Litigation Trust Agreement,
shall be responsible for all decisions and duties with respect to the Litigation Trust and the
Litigation Trust Assets, and such decisions and duties shall be carried out in accordance with the
Plan, the Confirmation Order, this Litigation Trust Agreement, and all other applicable orders of
the Bankruptcy Court.

               (c)      In all circumstances, the Litigation Trustee shall act in the best interests of
the Litigation Trust Beneficiaries and in furtherance of the purpose of the Litigation Trust, and
shall use commercially reasonable efforts to prosecute, settle or otherwise resolve the Litigation
Trust Causes of Action and to make timely distributions of any Litigation Trust Proceeds realized
therefrom and to otherwise monetize the Litigation Trust Property and not unreasonably prolong
the duration of the Litigation Trust.

                (d)      Fiduciary Duties. The Litigation Trustee shall have fiduciary duties to the
Litigation Trust Beneficiaries consistent with the fiduciary duties that a member of an official
committee appointed pursuant to section 1102 of the Bankruptcy Code has to the creditor
constituents represented by such committee and shall exercise his, her or its responsibilities
accordingly; provided that the Litigation Trustee shall not owe fiduciary obligations to any
defendants of or adverse parties to the Litigation Trust Causes of Action in their capacities as such,
it being the intent of such fiduciary duties to ensure that the Litigation Trustee’s obligations are to
maximize the value of the Litigation Trust Property, including the Litigation Trust Causes of
Action.




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       5.2     Limitations on Power and Authority of the Litigation Trustee. Notwithstanding
anything to the contrary contained in the Plan, the Confirmation Order or this Litigation Trust
Agreement:

               (a)    The Litigation Trustee, after consultation with the Litigation Trust
Oversight Committee, may settle, compromise, abandon, dismiss, release, submit to binding
arbitration or mediation, or waive, in whole or in part, the Litigation Trust Causes of Action
without the consent of a majority of the Litigation Trust Oversight Committee (any such
settlement, compromise, abandonment, dismissal, release, submission, or waiver referred to herein
as a “Settlement”).

                (b)    For the avoidance of doubt, notwithstanding anything to the contrary herein,
the Litigation Trustee shall not challenge the validity or scope of the Debtor Releases.

               (c)     Any engagement, compensation or indemnification on behalf of the
Litigation Trust of consultants, agents, employees or other professional persons to assist the
Litigation Trustee with respect to the Litigation Trustee’s responsibilities, powers and duties under
this Litigation Trust Agreement shall require the prior consultation with the Litigation Trust
Oversight Committee.

                (d)      No part of the Litigation Trust Property shall be used or disposed of by the
Litigation Trustee in furtherance of any trade or business. The Litigation Trustee shall, on behalf
of the Litigation Trust, hold the Litigation Trust out as a trust in the process of liquidation and not
as an investment company. The Litigation Trustee shall not, and shall not be authorized to, engage
in any investments or activities inconsistent with the treatment of the Litigation Trust as liquidating
trust within the meaning of the Treasury Regulations or under applicable guidelines or rulings of
the United States Internal Revenue Service (the “IRS”) or other controlling authorities. The
Litigation Trustee shall not become a market-maker for the Litigation Trust Interests or otherwise
attempt to create a secondary market for the Litigation Trust Interests. The Litigation Trustee shall
be restricted to the liquidation of the Litigation Trust Property on behalf, and for the benefit, of the
Litigation Trust Beneficiaries and the distribution and application of Litigation Trust Property for
the purposes set forth in this Litigation Trust Agreement, the Plan, and the Confirmation Order,
and the conservation and protection of the Litigation Trust Property and the administration thereof
in accordance with the provisions of this Litigation Trust Agreement, the Plan, and the
Confirmation Order.

                (e)     The Litigation Trustee shall not (i) receive transfers of any listed stocks or
securities or any readily marketable assets or any operating assets of a going business or (ii) take
any other action or engage in any investments or activities that would jeopardize treatment of the
Litigation Trust as a “liquidating trust” for federal income tax purposes under Treasury Regulation
section 301.7701-4(d), or any successor provision thereof.

                 (f)     The Litigation Trust shall not hold any operating assets of a going business
directly and shall not hold 50 percent or more of the stock (in either vote or value) of any entity
that is treated as a corporation for federal income tax purposes, nor be the sole member of a limited
liability company, nor have any interest in an entity that is treated as a partnership for federal
income tax purposes, unless such stock, membership interests or partnership interest was obtained

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involuntarily or as a matter of practical economic necessity in order to preserve the value of the
Litigation Trust Property, or, in any case, such corporation, company or partnership does not hold
operating assets of a going business.

                (g)     The Litigation Trustee is expressly prohibited from and shall not have the
authority to (i) take any action in contravention of the Plan, the Confirmation Order, or this
Litigation Trust Agreement; (ii) take any action that would make it impossible to carry on the
activities of the Litigation Trust; (iii) possess property of the Litigation Trust or assign the
Litigation Trust’s rights in specific property for any purpose other than as provided herein;
(iv) commence, continue, prosecute, or seek to pursue any non-Litigation Trust Causes of Action;
or (v) accept any transfer or assignment of any claims, causes of action, or assets to the Liquidating
Trust other than the Liquidating Trust Assets and Liquidating Trust Causes of Action.

         5.3    Management of Litigation Trust Assets.

                (a)     Except as otherwise provided in the Plan, the Confirmation Order, or this
Litigation Trust Agreement, and subject to Treasury Regulations governing liquidating trusts and
the retained jurisdiction of the Bankruptcy Court as provided for in the Plan, but without prior or
further authorization, the Litigation Trustee may, after consultation with the Litigation Trust
Oversight Committee, control and exercise authority over the Litigation Trust Property, over the
management and disposition thereof, and over the management and conduct of the Litigation Trust,
in each case, as necessary or advisable to enable the Litigation Trustee to fulfill the intents and
purposes of this Litigation Trust Agreement. No Person dealing with the Litigation Trust will be
obligated to inquire into the authority of the Litigation Trustee in connection with the protection,
conservation, liquidation, or disposition of the Litigation Trust Property.

                (b)     In connection with the management and use of the Litigation Trust Property
and except as otherwise expressly limited in the Plan, the Confirmation Order, or this Litigation
Trust Agreement, the Litigation Trust will have, in addition to any powers conferred upon the
Litigation Trust by any other provision of this Litigation Trust Agreement, the power to take any
and all actions as, in the Litigation Trustee’s reasonable discretion, are necessary or advisable to
effectuate the primary purposes of the Litigation Trust, subject to any consultation, approvals, or
direction of the Litigation Trust Oversight Committee as set forth herein, including, without
limitation, the power and authority to (i) pay taxes and other obligations owed by the Litigation
Trust or incurred by the Litigation Trustee; (ii) engage and compensate from the Litigation Trust
Proceeds, to the extent provided herein, the Litigation Trust Professionals to assist the Litigation
Trustee with respect to the Litigation Trustee’s responsibilities; (iii) commence and/or pursue the
Litigation Trust Causes of Action; and (iv) act and implement the Plan, this Litigation Trust
Agreement, and applicable orders of the Bankruptcy Court (including, as applicable, the
Confirmation Order).

         5.4    Books and Records.

               (a)     The Litigation Trustee shall maintain, in respect of the Litigation Trust and
the holders of Litigation Trust Interests, books and records relating to the Litigation Trust Assets
and income of the Litigation Trust (including the Litigation Trust Proceeds) and the payment of,
costs and expenses of, and liabilities of claims against or assumed by, the Litigation Trust in such

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detail and for such period of time as may be necessary to enable it to make a full and proper
accounting in respect thereof and in accordance with applicable law. Such books and records shall
be maintained as reasonably necessary to facilitate compliance with the tax reporting and securities
law requirements of the Litigation Trust. Except as expressly provided herein, nothing in this
Litigation Trust Agreement requires the Litigation Trustee to file any accounting or seek approval
of any court with respect to the administration of the Litigation Trust or as a condition for
managing any payment or distribution out of the Litigation Trust Property.

                (b)     Members of the Litigation Trust Oversight Committee shall, upon request,
have the right to examine the Litigation Trust’s books and records. The Litigation Trust
Beneficiaries and their duly authorized representatives shall have the right, upon reasonable prior
written notice to the Litigation Trustee, to inspect and, at the sole expense of such Litigation Trust
Beneficiary, make copies of the books and records (including financial statements) relating to the
Litigation Trust, in each case for a purpose reasonably related to such Litigation Trust
Beneficiary’s interest in the Litigation Trust; provided that the Litigation Trustee shall have the
right to deny access to any Litigation Trust Beneficiary in a reasonable effort to preserve privileged
or confidential information, or protect litigation or other strategies; provided, further, that, if so
requested, such Litigation Trust Beneficiary shall have entered into a confidentiality agreement
reasonably satisfactory in form and substance to the Litigation Trustee.

               (c)     Any books and records determined by the Litigation Trustee, in its sole
discretion, not to be reasonably necessary for administering the Litigation Trust or for the
Litigation Trustee’s compliance with the provisions of this Litigation Trust Agreement may, to the
extent not prohibited by applicable law, be destroyed.

         5.5    Additional Reporting Duties of the Litigation Trustee.

               (a)     Budget Reporting. No later than 60 days following the Effective Date, and
thereafter on a quarterly basis, the Litigation Trustee shall prepare and deliver to the Litigation
Trust Oversight Committee a budget for the operation of the Litigation Trust (the “Budget”). The
Budget shall state a maximum amount of expenditures during such quarter that the Litigation
Trustee seeks authority to make prior to seeking further approval from the Litigation Trust
Oversight Committee (the “Authorized Expenditure Level”). The Litigation Trustee may also
from time to time submit to the Litigation Trust Oversight Committee an amended Budget, with
an amended Authorized Expenditure Level, for approval or rejection by the Litigation Trust
Oversight Committee. The Litigation Trustee may not exceed such Authorized Expenditure Level
for a given quarter by greater than 15 percent without first consulting with the Litigation Trust
Oversight Committee; provided, further, that the Litigation Trustee may exceed an Authorized
Expenditure Level for a given quarter by more than 15 percent if the total amount of expenses
incurred by the Litigation Trustee on a cumulative, aggregate basis from the inception of the
Litigation Trust through the last business day of the quarter does not exceed the total cumulative,
aggregate amount of the Authorized Expenditure Levels over the same period.

                (b)    Tax Reporting. The Litigation Trustee shall be the “administrator” (as
defined in the Treasury Regulations) of the Litigation Trust and shall meet, without limitation, all
requirements necessary to qualify and maintain qualification of the Litigation Trust as a
“liquidating trust” within the meaning of the Treasury Regulations, and take no action that could

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cause the Litigation Trust to fail to qualify as a “liquidating trust” within the meaning of the
Treasury Regulations.

         5.6    Additional Powers of the Litigation Trustee.

                (a)     Retention of Counsel and Other Professionals. The Litigation Trustee, after
consultation with the Litigation Trust Oversight Committee, without further order of the
Bankruptcy Court but subject to this Section (a) in all cases, may employ Litigation Trust
Professionals as the Litigation Trustee deems necessary to aid it in fulfilling its obligations under
this Litigation Trust Agreement and the Plan, and on whatever reasonable and/or customary fee
arrangement the Litigation Trustee deems appropriate, including contingency fee arrangements,
for the liquidation of the Litigation Trust Assets. Litigation Trust Professionals engaged by the
Litigation Trustee shall not be required to file applications in order to receive compensation for
services rendered and reimbursement of actual out-of-pocket expenses incurred. For the avoidance
of doubt, prior employment in any capacity in the Debtors’ Chapter 11 Cases on behalf of the
Debtors, their estates, or any parties in interest shall not, subject to compliance with applicable
rules of professional conduct, preclude the Litigation Trust’s retention of such professionals,
consultants, or other persons.

                (b)     Agreements. Pursuant to the Plan, the Confirmation Order, and the other
provisions of this Litigation Trust Agreement, the Litigation Trustee may enter into any agreement
or execute any document required by or consistent with the Plan, the Confirmation Order, or this
Litigation Trust Agreement and perform all of the Litigation Trust’s obligations thereunder.

                 (c)    Authorization to Expend and Reserve Trust Property. The Litigation
Trustee may expend and reserve the Litigation Trust Property (i) as reasonably necessary to meet
contingent liabilities and to maintain the value of the Litigation Trust Property during liquidation,
(ii) to pay all administrative expenses of the Litigation Trust (including, but not limited to, any
taxes imposed on the Litigation Trust), and (iii) to satisfy all other liabilities incurred or assumed
by the Litigation Trust (or to which the Litigation Trust Property are otherwise subject) in
accordance with this Litigation Trust Agreement and subject to the requirements of Treasury
Regulation section 301.7701-4(d) and Revenue Procedure 94-45, 1994 2 C.B. 684.

                 (d)    Investment of Cash. The right and power of the Litigation Trustee to invest
the Litigation Trust Property, the proceeds thereof, or any income earned by the Litigation Trust
shall be limited to the right and power to invest such Litigation Trust Property only in Cash, cash
equivalents, U.S. Treasury securities, money market investments, and similar investments;
provided that (i) the scope of any such permissible investments shall be further limited to include
only those investments that a “liquidating trust” within the meaning of Treasury Regulation section
301.7701-4(d) may be permitted to hold, pursuant to the Treasury Regulations, or any modification
in the IRS guidelines, whether set forth in IRS rulings, other IRS pronouncements, or otherwise,
(ii) the Litigation Trustee may retain any Litigation Trust Property received that is not Cash only
for so long as may be required for the prompt and orderly liquidation of such property in Cash,
and (iii) the Litigation Trustee may expend the Litigation Trust Property (A) as reasonably
necessary to meet contingent liabilities and maintain the value of the Litigation Trust Property
during liquidation, (B) to pay reasonable and documented administrative expenses (including, but
not limited to, any taxes imposed on the Litigation Trust or reasonable fees and expenses in

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connection with liquidating the Litigation Trust Property), subject in all cases to Section 2.3 of this
Litigation Trust Agreement, and (B) to satisfy other liabilities incurred or assumed by the
Litigation Trust (or to which the Litigation Trust Property is otherwise subject) in accordance with
the Plan or this Litigation Trust Agreement (including, as applicable, Section 2.3 herein).

                (e)    Compliance with Laws. Any and all distributions of Litigation Trust
Property shall be in compliance with applicable laws, including, but not limited to, applicable
federal and state securities laws.

                                          ARTICLE VI
                                        DISTRIBUTIONS

         6.1    Manner of Distributions.

                (a)    Trust Reserve Payments. Prior to making any distribution to Litigation
Trust Beneficiaries, the Litigation Trustee shall, after consultation with the Litigation Trust
Oversight Committee, and taking into account the availability, where applicable, of Cash already
on hand or scheduled to be received, determine such amounts (the “Trust Reserve”) that are (i)
necessary to meet current or anticipated Litigation Trust Fees and Expenses (whether fixed or
contingent) and (ii) necessary to pay current or anticipated Litigation Trust Fees and Expenses
(including, but not limited to, any fees of the Litigation Trust Professionals and any taxes imposed
on the Litigation Trust or in respect of the Litigation Trust Property). The Litigation Trustee may
withhold from amounts distributable to any Person or Entity any and all amounts, determined in
the Litigation Trustee’s reasonable sole discretion (based on advice of counsel or accountants, as
applicable), required by any law, regulation, rule, ruling, directive, or other governmental
requirement.

               (b)     On any date determined by the Litigation Trustee, after consultation with
the Litigation Trust Oversight Committee (provided such date for distribution occurs at least
annually), and in any event promptly upon receipt of any payment or distribution received in
connection with any judgment or Settlement in the Litigation Trust Causes of Action, the Litigation
Trustee shall make distributions of the Litigation Trust Proceeds and any proceeds arising from
investments made pursuant to Section 5.6(d) to the Litigation Trust Beneficiaries (i) only in
accordance with the terms of the Plan, the Confirmation Order, and this Litigation Trust
Agreement, (ii) after the Litigation Trust Proceeds or proceeds of investments made pursuant to
Section 5.6(d) are received by the Litigation Trust, (iii) only to the extent that the Litigation Trust
has sufficient Litigation Trust Proceeds or proceeds of investments made pursuant to Section
5.6(d) available to make such distributions, (iv) only if all Litigation Trust Fees and Expenses have
been paid in full, (v) subsequent to the payment of the Initial Note Funding Reimbursement in
accordance with the Litigation Trust Note, (vi) subsequent to the establishment of, and deducting
from any such distribution, the Trust Reserve deemed necessary and appropriate by the Litigation
Trustee, and (vii) subject to the requirements of Treasury Regulation section 301.7701-4(d) and
Revenue Procedure 94-45, 1994 2 C.B. 684. For the avoidance of doubt, this Section 6.1(b) shall
not prohibit the Litigation Trustee from using Litigation Trust Property to timely pay Litigation
Trust Fees and Expenses duly incurred in accordance with this Litigation Trust Agreement,
including with respect to the payment of any taxes or other amounts owed to governmental units
and to timely compensate Litigation Trust Professionals engaged by the Litigation Trust in

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accordance with this Litigation Trust Agreement to assist the Litigation Trustee with respect to the
Litigation Trustee’s responsibilities.

                (c)    Any distributions of Litigation Trust Proceeds by the Litigation Trustee
pursuant to this Section 6.1 shall be made in the following manner: (i) 33% of such Litigation
Trust Proceeds shall be distributed to Kinderhook; and (ii) 67% of such Litigation Trust Proceeds
shall be distributed pro rata to GUC Holders.

               (d)     Notwithstanding anything to the contrary herein, no distributions to
Litigation Trust Beneficiaries shall be made unless and until the Initial Note Funding is repaid in
full in accordance with the Litigation Trust Note.

                (e)     The Litigation Trustee shall make distributions to Litigation Trust
Beneficiaries at the last-known address for each such Litigation Trust Beneficiary as indicated on
the Trust Register as of the applicable distribution date. Any distribution of Cash by the
Litigation Trust shall be made by the Litigation Trustee via (i) a check drawn on, or (ii) wire
transfer from, a bank account established in the name of the Litigation Trust on or subsequent to
the Effective Date at a domestic bank selected by the Litigation Trustee (the “Litigation Trust
Account”), the option of which shall be in the sole discretion of the Litigation Trustee. If any
distribution to any holder is returned as undeliverable, no distribution to such holder shall be made
unless and until the Litigation Trustee or, as applicable, the Registrar, is notified in writing of the
then-current address of such holder, at which time such distribution shall be made as soon as
reasonably practicable after such distribution has become deliverable or has been claimed to such
holder without interest; provided that such distributions shall be deemed “unclaimed property”
under section 347(b) of the Bankruptcy Code and forfeited at the expiration of six (6) months from
the applicable distribution date. After such date, all “unclaimed property” or interests in property
shall revert to the Litigation Trust (notwithstanding any applicable federal or state escheat,
abandoned or unclaimed property laws to the contrary) for redistribution in accordance with the
terms of the Plan and this Litigation Trust Agreement, and the claim of any holder to such
“unclaimed property” or interest in property shall be forever barred.

               (f)      The Litigation Trustee shall have the authority, in consultation with the
Litigation Trust Oversight Committee, to enter into agreements with one or more Distribution
Agents to facilitate the distributions required under the Plan and this Litigation Trust Agreement.
The Litigation Trustee may pay to the Distribution Agents all reasonable and documented fees and
expenses of the Distribution Agents without the need for any approvals, authorizations, actions or
consents.

                (g)     The Litigation Trustee shall have no obligation to make a distribution on
account of an Litigation Trust Beneficiary if the amount to be distributed to a Litigation Trust
Beneficiaries is less than $100.00.

               (h)    The Litigation Trustee may, in the Litigation Trustee’s sole discretion,
determine the best way to report for tax purposes with respect to any reserve for disputed general
unsecured claims, including (i) filing a tax election to treat any and all reserves for disputed general
unsecured claims as a Disputed Ownership Fund (“DOF”) within the meaning of Treasury Income
Tax Regulation Section 1.468B-9 for federal income tax purposes rather than to tax such reserve

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as a part of the Trust or (ii) electing to report as a separate trust or sub-trust or other entity. If an
election is made to report any reserve for disputed claims as a DOF, the Litigation Trust shall
comply with all federal and state tax reporting and tax compliance requirements of the DOF,
including but not limited to the filing of a separate federal tax return for the DOF and the payment
of federal and/or state income tax due.

                                     ARTICLE VII
                         THE LITIGATION TRUSTEE GENERALLY

         7.1    Generally.

                (a)      The Litigation Trustee, in accordance with the Plan and the Confirmation
Order, shall be a professional natural person or financial institution with experience administering
other litigation trusts and may not be a Member of the Litigation Trust Oversight Committee.

              (b)     The Litigation Trustee’s powers are exercisable solely in a fiduciary
capacity consistent with, and in furtherance of, the purposes of this Litigation Trust and not
otherwise, except that the Litigation Trustee may deal with the Litigation Trust Property for its
own account as permitted by Section 7.2 herein.

               (c)     The Litigation Trustee will exercise its reasonable business judgment in
prosecuting the Litigation Trust Causes of Action.

         7.2    Litigation Trustee’s Compensation and Expense Reimbursement.

                (a)    Compensation. The Litigation Trustee shall receive compensation for the
performance of its duties from the Litigation Trust (the “Litigation Trustee Compensation”) as
follows: a flat fee of $7,500 per month, plus 3% of gross recoveries of the Litigation Trust, and
reimbursement of any actual and necessary expenses incurred by the Litigation Trustee pursuant to
the Trust Agreement. The compensation of the Litigation Trustee may be increased from time to
time by the Litigation Trust Oversight Committee. The Litigation Trustee, its professionals, its
agents, and its employees may be compensated on a nunc pro tunc basis, for work performed prior
to the Effective Date, upon the agreement of the Litigation Trust Oversight Committee.

                (b)    Expenses. The Litigation Trust will reimburse the Litigation Trustee for all
actual, reasonable, and documented out-of-pocket expenses incurred by the Litigation Trustee after
the Effective Date in connection with the performance of the duties of the Litigation Trustee
hereunder or under the Confirmation Order or the Plan, including, but not limited to, actual,
reasonable, and documented fees and disbursements of the Litigation Trustee’s legal counsel
incurred in connection with the review, execution, and delivery of this Litigation Trust Agreement
and related documents (collectively, the “Litigation Trustee Expenses,” and together with the
Litigation Trustee Compensation, the “Litigation Trustee Fees”). The Litigation Trustee shall also
be entitled to reimbursement for any and all losses, liabilities, expenses, or damages that the
Litigation Trustee may, in good faith and without willful misconduct, gross negligence, or fraud,
sustain in the exercise and performance of any of the powers and duties of the Litigation Trustee
after the Effective Date under this Litigation Trust Agreement.



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                 (c)     Payment. The Litigation Trustee Fees shall be paid to the Litigation Trustee
after consultation with the Litigation Trust Oversight Committee, without necessity for review or
approval by the Bankruptcy Court or any other Person. Payment of the Litigation Trustee Fees
shall be initially payable out of the Initial Funding and, after repayment in full of the Initial Note
Funding Reimbursement, payable from the Litigation Trust Proceeds. If the Cash in the Litigation
Trust shall be insufficient to pay the expenses and liabilities of the Litigation Trust, including but
not limited to any obligation to compensate and reimburse the Litigation Trustee, the Litigation
Trust Oversight Committee or any Members thereof, or any professionals authorized to be
compensated or reimbursed by this Litigation Trust Agreement for any amounts to which they are
entitled, then the Litigation Trustee is hereby authorized, with the written approval of the Litigation
Trust Oversight Committee, to reduce to Cash that portion of the Litigation Trust Property
necessary to effect such compensation and reimbursement. The Bankruptcy Court shall retain
jurisdiction to adjudicate any dispute between the Litigation Trustee and the Litigation Trust
Oversight Committee regarding the Litigation Trustee Fees.

                (d)    No Bond. The Litigation Trustee shall serve without bond.

         7.3    Tenure, Removal, and Replacement of the Litigation Trustee.

                (a)      Tenure of the Litigation Trustee. The authority of the Litigation Trustee
will be effective as of the Effective Date and will remain and continue in full force and effect until
the Litigation Trust is terminated in accordance with Article IX herein. The Litigation Trustee
will serve until the appointment of a successor or until the earlier of resignation pursuant to
Section (b) below, removal pursuant to Section (c) below, death (in the case of a Litigation Trustee
that is a natural person), or dissolution (in the case of a Litigation Trustee that is not a natural
person).

               (b)     Resignation. The Litigation Trustee may resign by giving not less than sixty
(60) days’ prior written notice thereof to the Litigation Trust Oversight Committee and the
Litigation Trust Beneficiaries. Unless otherwise determined by the Litigation Trust Oversight
Committee, such resignation shall become effective on the later to occur of: (i) the day specified
in such notice and (ii) the appointment of a successor trustee by the Litigation Trust Oversight
Committee and the acceptance by such successor of such appointment. Notwithstanding the
foregoing, upon the Termination Date (as defined in Section 9.1 below), the Litigation Trustee
shall be deemed to have resigned, except as otherwise provided for in Section 9.2 herein.

                (c)    Removal.

                        (i)    The Litigation Trustee (or any successor Litigation Trustee) may be
removed and replaced by the Litigation Trust Oversight Committee for Cause (as defined in this
Section (i)) by written consent of a majority of the Members or at a meeting of the Litigation Trust
Oversight Committee called for the purpose of removing the Litigation Trustee or for any reason
by a unanimous vote of the Litigation Trust Oversight Committee. For the purpose of the
preceding sentence, “Cause” shall mean the Litigation Trustee’s (A) willful failure to perform its
material duties hereunder, which is not remedied within thirty (30) days of notice; (B) commission
of an act of fraud, theft or embezzlement during the performance its duties hereunder;
(C) conviction of a felony with all appeals having been exhausted or appeal periods lapsed;

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(D) gross negligence, bad faith, willful misconduct, or knowing violation of law in the
performance of its duties hereunder; (E) commission of any negligence, even if not rising to the
level of gross negligence, that risks adversely affecting the success of the Litigation Trust Causes
of Action; or (F) violation of the provisions of this Litigation Trust Agreement. Such removal
shall become effective on the date action is taken.

                        (ii)    To the extent there is any dispute regarding the removal of the
Litigation Trustee (including any dispute relating to any portion of the Litigation Trustee Fees),
the Bankruptcy Court shall retain jurisdiction to consider and adjudicate any such dispute.
Notwithstanding the foregoing, unless otherwise determined by the Litigation Trust Oversight
Committee, the Litigation Trustee will continue to serve as the Litigation Trustee after his removal
until the earlier of (A) the time when appointment of a successor Litigation Trustee will become
effective in accordance with Section (d) of this Litigation Trust Agreement or (B) such date as the
Bankruptcy Court otherwise orders.

               (d)     Appointment of Successor Litigation Trustee.

                        (i)    In the event of the death (in the case of a Litigation Trustee that is a
natural person), dissolution (in the case of a Litigation Trustee that is not a natural person),
resignation pursuant to Section (b) herein, incompetency, or removal pursuant to Section (c) herein,
of the Litigation Trustee, the Litigation Trust Oversight Committee shall designate a successor
Litigation Trustee satisfying the requirements set forth in Section 7.1 herein by majority vote.

                       (ii)     During any period in which there is a vacancy in the position of
Litigation Trustee, the Litigation Trust Oversight Committee shall appoint one of its Members by
majority vote to serve as interim Litigation Trustee (the “Interim Trustee”). The Interim Trustee
shall be subject to all the terms and conditions applicable to a Litigation Trustee hereunder;
provided that any such Interim Trustee shall not be entitled to receive the Litigation Trustee
Compensation unless approved by the Litigation Trust Oversight Committee, but shall be entitled
to receive payment for the Litigation Trustee Expenses. Such Interim Trustee shall not be limited
in any manner from exercising any rights or powers as a Member of the Litigation Trust Oversight
Committee merely by the appointment of such Person or Entity as Interim Trustee, but shall be
limited in the exercise of such rights or powers as a Litigation Trustee to the extent a majority of
the Litigation Trust Oversight Committee shall, to the extent applicable in this Litigation Trust
Agreement, fail to approve any such action or undertaking by the Interim Trustee.

                (e)    Effect of Resignation or Removal. The death, dissolution, bankruptcy,
resignation, incompetency, incapacity or removal of the Litigation Trustee, as applicable, shall not
operate to terminate the Litigation Trust created by this Litigation Trust Agreement or to revoke
any existing agency created pursuant to the terms of this Litigation Trust Agreement or invalidate
any action theretofore taken by the Litigation Trustee or any prior Litigation Trustee in accordance
with this Litigation Trust Agreement. In the event of the resignation or removal of the Litigation
Trustee, such Litigation Trustee will promptly (i) execute and deliver such documents, instruments
and other writings as reasonably requested by the Litigation Trust Oversight Committee or the
successor Litigation Trustee to effect the termination of such Litigation Trustee’s capacity under
this Litigation Trust Agreement, (ii) deliver to the Litigation Trust Oversight Committee and/or
the successor Litigation Trustee all documents, instruments, records and other writings related to

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the Litigation Trust as may be in the possession of such Litigation Trustee, including any Litigation
Trust Causes of Action materials, and shall not retain any copies of such materials, even for
archival purposes, and (iii) otherwise assist and cooperate in effecting the assumption of its
obligations and functions by such successor Litigation Trustee.

         7.4    Confidentiality.

                (a)      The Litigation Trustee shall, during the period that the Litigation Trustee
serves as Litigation Trustee under this Litigation Trust Agreement and for a period of two (2) years
following the termination of this Litigation Trust Agreement or following such
Litigation Trustee’s removal or resignation hereunder, hold strictly confidential and not use for
personal gain or for the gain of any Person or Entity for whom such Litigation Trustee may be
employed any material, non-public information of or pertaining to any Person or Entity to which
any of the Litigation Trust Causes of Action materials or Litigation Trust Assets relates or of which
the Litigation Trustee has become aware in the Litigation Trustee’s capacity as Litigation Trustee
(including information contained or reflected in the Litigation Trust materials), until (i) such
information is made public other than by disclosure by the Litigation Trust, the Litigation Trustee,
or any Litigation Trust Professionals in violation of this Litigation Trust Agreement; (ii) the
Litigation Trust is required by law to disclose such information (in which case the Litigation Trust
shall provide the relevant Person or Entity reasonable advance notice and an opportunity to protect
his, her, or its rights); or (iii) the Litigation Trust obtains a waiver of confidentiality from the
applicable Person or Entity.

                                  ARTICLE VIII
                  THE LITIGATION TRUST OVERSIGHT COMMITTEE

         8.1    Litigation Trust Oversight Committee.

                (a)    Appointment of the Litigation Trust Oversight Committee. On or prior to
the Effective Date, a three-person Litigation Trust Oversight Committee shall be appointed as
follows: (i) one (1) member selected by Hisun, (ii) Jillian Lin of Dundon Advisors (the
“Independent Member”), and (iii) one (1) independent member selected by Buyer . Except as set
forth in Section 7.3(d)(ii), no Member shall be the Litigation Trustee.

               (b)     Fiduciary Duties. The Litigation Trust Oversight Committee and its
Members shall have fiduciary duties to the Litigation Trust Beneficiaries consistent with the
fiduciary duties under the General Corporation Law of the State of Delaware as set forth in Title 8
of the Delaware Code or other applicable law; provided that the Litigation Trust Oversight
Committee and its Members shall not owe fiduciary obligations to any defendants of Litigation
Trust Causes of Action in their capacities as such, it being the intent of such fiduciary duties to
ensure that the Litigation Trust Oversight Committee’s obligations are to maximize the value of
the Litigation Trust Causes of Action. In all circumstances, the Litigation Trust Oversight
Committee shall act in the best interests of the Litigation Trust Beneficiaries and in furtherance of
the purpose of the Litigation Trust.




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         8.2    Authority and Responsibilities.

                 (a)    The Litigation Trust Oversight Committee shall have the authority and
responsibility to (i) monitor, oversee, and govern the administration of the Litigation Trust,
(ii) monitor, oversee, review, and guide the activities and performance of the Litigation Trustee,
(iii) remove and replace the Litigation Trustee at any time for Cause by written consent of a
majority of the Members or at a meeting of the Litigation Trust Oversight Committee called for
the purpose of removing the Litigation Trustee, or without Cause, upon not less than ninety (90)
days’ prior written notice, pursuant to Section 7.3(c) herein, and (iv) perform such other tasks as
are set forth in the Plan, the Confirmation Order, and this Litigation Trust Agreement.

                (b)     The Litigation Trust Oversight Committee shall, as and when requested by
the Litigation Trustee, or when the Members otherwise deem it to be appropriate or as is otherwise
required under the Plan, the Confirmation Order, or this Litigation Trust Agreement, consult with
and advise the Litigation Trustee as to the administration and management of the Litigation Trust
in accordance with the Plan, the Confirmation Order, and this Litigation Trust Agreement, and
may direct the Litigation Trustee to take any action or not take any action with respect to
Litigation Trust Property or otherwise so long as such direction is consistent with the Plan, the
Confirmation Order, and this Litigation Trust Agreement; provided that the Litigation Trust
Oversight Committee may not direct the Litigation Trustee to, nor shall the Members, act in a
manner inconsistent with their respective duties and obligations under the Plan, the Confirmation
Order, or this Litigation Trust Agreement; provided, further, that nothing in this Litigation Trust
Agreement shall be interpreted to authorize the Litigation Trust Oversight Committee to direct the
Litigation Trustee to take any action that this Litigation Trust Agreement conditions (i) upon the
joint agreement of the Litigation Trustee and the Litigation Trust Oversight Committee or (ii) upon
the Litigation Trust Oversight Committee approval of a proposal made by the Litigation Trustee.

              (c)    Members of the Litigation Trust Oversight Committee shall make
themselves reasonably available for consultation by the Litigation Trust Beneficiaries.

                (d)     Notwithstanding any provision of this Litigation Trust Agreement to the
contrary, the Litigation Trustee shall not be required to obtain the approval or follow the directions
of the Litigation Trust Oversight Committee to the extent that (i) the Litigation Trust Oversight
Committee has not authorized the Litigation Trustee to take any action that the Litigation Trustee,
in good faith, reasonably determines, based on the advice of legal counsel, is required to be taken
by applicable law or (ii) the Litigation Trust Oversight Committee directs the Litigation Trustee
to take action that the Litigation Trustee, in good faith, reasonably determines, based on the advice
of legal counsel, is prohibited by applicable law or this Agreement.

         8.3    Meetings.

                (a)     Regular Meetings of the Litigation Trust Oversight Committee. The first
meeting of the Litigation Trust Oversight Committee shall occur no later than thirty (30) calendar
days after the Effective Date. Meetings of the Litigation Trust Oversight Committee are to be held
not less often than quarterly. Such meetings (other than the first meeting of the Litigation Trust
Oversight Committee) may be held telephonically as authorized by Section 8.4(b).


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                 (b)     Chairman or Chairwoman Selection. At its first meeting, the Litigation
Trust Oversight Committee shall select a chairman or chairwoman from among the Members of
the Litigation Trust Oversight Committee. Such selection shall be by majority vote of the
Litigation Trust Oversight Committee, and such chairman or chairwoman may be removed and
replaced as chairman or chairwoman by another Member of the Litigation Trust Oversight
Committee, at any time and without cause, by a subsequent majority vote of the Litigation Trust
Oversight Committee. Such chairman or chairwoman shall preside over the meetings of the
Litigation Trust Oversight Committee, but otherwise shall have no additional rights or privileges
as a result of his or her status as chairman or chairwoman.

               (c)     Special Meetings of the Litigation Trust Oversight Committee. Special
meetings of the Litigation Trust Oversight Committee may be held whenever and wherever called
for by any Member; provided that notice of any such meeting shall be duly given in writing no less
than 48 hours prior to such meeting (such notice being subject to waiver by the Members). Such
meetings (other than the first meeting of the Litigation Trust Oversight Committee) may be held
telephonically as authorized by Section 8.4(b).

               (d)     Litigation Trust Oversight Committee’s Action Without a Meeting. Any
action required or permitted to be taken by the Litigation Trust Oversight Committee at a meeting
may be taken without a meeting if the action is taken by unanimous written consent of the
Litigation Trust Oversight Committee as evidenced by one or more written consents describing
the action taken, signed by all Members and recorded in the minutes, if any, or other transcript, if
any, of proceedings of the Litigation Trust Oversight Committee.

               (e)    Regular Meetings of the Litigation Trustee and the Litigation Trust
Oversight Committee. Meetings of the Litigation Trustee and the Litigation Trust Oversight
Committee are to be held with such frequency and at such place as the Litigation Trustee and the
Litigation Trust Oversight Committee may determine in their sole discretion, but in no event shall
such meetings be held less frequently than quarterly. Such meetings may be held telephonically
as authorized by Section 8.4(b).

               (f)     Special Meetings of the Litigation Trustee and the Litigation Trust
Oversight Committee. Special meetings of the Litigation Trustee and the Litigation Trust
Oversight Committee may be held whenever and wherever called for by the Litigation Trustee or
any Member; provided that notice of any such meeting shall be duly given in writing no less than
48 hours prior to such meeting (such notice being subject to waiver by the Litigation Trustee and
the Members). Such meetings may be held telephonically as authorized by Section 8.4(b).

               (g)    Notice of, and Waiver of Notice for, Regular and Special Meetings. Notice
of the time and place (but not necessarily the purpose or all of the purposes) of any regular or
special meeting will be given to the Litigation Trustee and the Members of the Litigation Trust
Oversight Committee in person or by telephone, or via mail or facsimile or electronic mail
transmission. Notice to the Litigation Trustee and the Members of the Litigation Trust Oversight
Committee of any such regular or special meeting, if the meeting is to be held in-person rather
than telephonically, will be deemed given sufficiently in advance when, at least ten (10) days
before the meeting date, (i) if given by mail, the same is deposited in the United States mail, with
postage thereon prepaid, (ii) if given by facsimile transmission or by e-mail, the same is transmitted

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by such means, or (iii) if personally delivered (including by overnight courier) or given by
telephone, the same is handed, or the substance thereof is communicated over the telephone to the
Litigation Trustee and the Members of the Litigation Trust Oversight Committee or to an adult
member of his or her office staff or household. In the event that such meeting is to be held
telephonically, as authorized by Section 8.4(b), the notice requirement in the preceding sentence
shall be ten (10) days for notice by mail and 48 hours for facsimile transmission, email, personal
delivery (including by overnight courier) or telephone. The Litigation Trustee and any Member
of the Litigation Trust Oversight Committee may waive notice of any meeting and any
adjournment thereof at any time before, during, or after it is held, as provided by law. Except as
provided in the next sentence below, the waiver must be in writing, signed by the Litigation Trustee
or the Members of the Litigation Trust Oversight Committee entitled to the notice, and filed with
the minutes or records of the Litigation Trust. The attendance of the Litigation Trustee or a
Member of the Litigation Trust Oversight Committee at a meeting shall constitute a waiver of
notice of such meeting, except when the person attends a meeting for the express purpose of
objecting, at the beginning of the meeting, to the transaction of any business because the meeting
is not lawfully called or convened.

         8.4    Manner of Acting.

                (a)     A majority of the total number of Members of the Litigation Trust Oversight
Committee then in office shall constitute a quorum for the transaction of business at any meeting
of the Litigation Trust Oversight Committee. The affirmative vote of a majority of the Members
of the Litigation Trust Oversight Committee present at a meeting at which a quorum is present
shall be the act of the Litigation Trust Oversight Committee, except as otherwise required by law
or as provided in this Litigation Trust Agreement.

                 (b)    Any or all of the Members may participate in a regular or special meeting
by, or conduct the meeting through the use of, conference telephone, video conference, email, or
similar communications equipment by means of which all Persons or Entities participating in the
meeting may hear each other, in which case any required notice of such meeting may generally
describe the arrangements (rather than or in addition to the place) for the holding thereof. Any
Member participating in a meeting by this means is deemed to be present in person at the meeting.
The Litigation Trust Oversight Committee, and individual Members thereof, shall take into
account the relative expense of in person and telephonic appearance, including in relation to travel
restrictions, at meetings in determining the manner of Members’ appearance. Voting (including
on negative notice) may be conducted by electronic mail or individual communications by the
Litigation Trustee and each Member.

               (c)     Any affirmative action required by the Litigation Trust Oversight
Committee under this Litigation Trust Agreement may be solicited by the Litigation Trustee via
email and subject to vote via forty eight (48) hours negative notice, unless under the circumstances
the Litigation Trustee reasonably determines that a shorter period of negative notice is necessary
to avoid prejudice or harm to the Litigation Trust.

               (d)    Any Member who is present and entitled to vote at a meeting of the
Litigation Trust Oversight Committee (including any meeting of the Litigation Trustee and the
Litigation Trust Oversight Committee) when action is taken is deemed to have assented to the

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action taken, subject to the requisite vote of the Litigation Trust Oversight Committee, unless: (i)
such Member of the Litigation Trust Oversight Committee objects at the beginning of the meeting
(or promptly upon his/her/it’s arrival) to holding or transacting business at the meeting; (ii)
his/her/it’s dissent or abstention from the action taken is entered in the minutes of the meeting; or
(iii) he/she/it delivers written notice (including by electronic or facsimile transmission) of
his/her/it’s dissent or abstention to the Litigation Trust Oversight Committee before its
adjournment. The right of dissent or abstention is not available to any Member of the Litigation
Trust Oversight Committee who votes in favor of the action taken.

                 (e)     Prior to the taking of a vote on any matter or issue or the taking of any action
with respect to any matter or issue, each Member of the Litigation Trust Oversight Committee
shall report to the Litigation Trust Oversight Committee any conflict of interest such Member has
or may have with respect to the matter or issue at hand and fully disclose the nature of such conflict
or potential conflict (including, without limitation, disclosing any and all financial or other
pecuniary interests that such Member may have with respect to or in connection with such matter
or issue, other than solely as a holder of Litigation Trust Interests). A Member who, with respect
to a matter or issue, has or who may have a conflict of interest whereby such Member’s interests
are adverse to the interests of the Litigation Trust (i) shall be deemed to be a “Conflicted Member”
who shall not be entitled to vote or take part in any action with respect to such matter or issue,
(ii) the vote or action with respect to such matter or issue shall be undertaken only by Members of
the Litigation Trust Oversight Committee who are not Conflicted Members and
(iii) notwithstanding anything contained herein to the contrary, the affirmative vote of only a
majority of the Members of the Litigation Trust Oversight Committee who are not Conflicted
Members shall be required to approve of such matter or issue and the same shall be the act of the
Litigation Trust Oversight Committee; provided that a Member shall not be deemed to be a
Conflicted Member with respect to a particular matter or issue if such Member merely has an
economic interest in the outcome of such matter or issue solely as a holder of Litigation Trust
Interests.

                (f)     The Members of the Litigation Trust Oversight Committee shall have the
authority to designate any Person or Entity to act on their behalf, including, without limitation, to
attend, participate in and vote at meetings of the Litigation Trust Oversight Committee. The
Litigation Trust Oversight Committee shall prepare minutes of its meetings. The Members of the
Litigation Trust Oversight Committee shall at all times seek to minimize expenses that they incur
that are chargeable to the Litigation Trust, in order to conserve funds consistent with the purpose
of the Litigation Trust and the limited funding available to it.

         8.5    Compensation and Reimbursement of Expenses.

               (a)     Compensation. The Litigation Trust Oversight Committee, with the
consent of the Litigation Trustee, may establish reasonable compensation for one or more of the
Members.

               (b)     Reimbursement of Expenses. The Litigation Trust shall reimburse all
reasonable and documented out-of-pocket expenses incurred by the Members of the
Litigation Trust Oversight Committee after the Effective Date in connection with the performance
of each of their duties hereunder (including reasonable fees, costs and expenses of legal counsel

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only as set forth in Section (i) herein) and shall reimburse all such Members for any and all losses,
liabilities, expenses, or damages that such Members may, in good faith and without willful
misconduct, gross negligence, or fraud, sustain in the exercise and performance of any of the
powers and duties of the Litigation Trust Oversight Committee under this Litigation Trust
Agreement.

                        (i)     The Litigation Trust Oversight Committee shall have no obligation
or responsibility to retain, engage or consult any attorneys, professionals or other advisors, and in
the event the Litigation Trust Oversight Committee elects to retain, engage or consult any such
persons, the Litigation Trust shall have no obligation to pay any of the fees, costs or expenses of
such persons, except that the Litigation Trust shall pay an amount jointly agreed by the Litigation
Trustee and the unanimous vote of the Litigation Trust Oversight Committee for the fees, costs or
expenses of any attorneys engaged by unanimous vote of the Litigation Trust Oversight Committee
at reasonable rates to advise the Litigation Trust Oversight Committee on its rights and
responsibilities under this Litigation Trust Agreement.

                         (ii)    The Litigation Trust Oversight Committee shall have the right to
cause the Litigation Trust to purchase insurance coverage with respect to the liabilities and
obligations of its Members under this Litigation Trust Agreement, except to the extent that such
liabilities and obligations are covered by other insurance applicable to the service of such Members
of the Litigation Trust Oversight Committee.

       8.6   Tenure, Removal, and Replacement of the Members of the Litigation Trust
Oversight Committee.

                (a)    Tenure of the Members of the Litigation Trust Oversight Committee. The
authority of the Members of the Litigation Trust Oversight Committee will be effective as of the
Effective Date and will remain and continue in full force and effect until the Litigation Trust is
terminated in accordance with Article IX herein. The Members will serve until such Member’s
successor is duly appointed or until such Member’s earlier resignation pursuant to Section (b)
below, removal pursuant to Section (c) below, death (in the case of a Member that is a natural
person), or dissolution (in the case of a Member that is not a natural person).

                (b)   Resignation. A Member may resign by giving not less than ninety (90)
days’ prior written notice of resignation to the Litigation Trustee and the other Members. Such
resignation shall become effective on the later to occur of: (i) the day specified in such notice and
(ii) the appointment of a successor in accordance with Section (d) below. If the resignation or
appointment of any such Member pursuant to this provision results in an even number of Members
on the Litigation Trust Oversight Committee, then the remaining Members shall jointly appoint
another Member.

              (c)     Removal. A Member of the Litigation Trust Oversight Committee may be
removed for cause by the Bankruptcy Court, upon the motion of the Litigation Trustee or any
Litigation Trust Beneficiary or on a motion by the Bankruptcy Court. Notwithstanding the
foregoing, upon the occurrence of the Termination Date (as defined in Section 9.1 herein), any or
all of the Members shall be deemed to have resigned.


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                (d)    Appointment of a Successor Member.

                      (i)     In the event of a vacancy on the Litigation Trust Oversight
Committee (whether by resignation, removal, death or dissolution), the Party that originally
appointed the vacating Member shall be entitled to appoint a Person or Entity as a successor to the
vacating Member. In the event of a vacancy on the Litigation Trust Oversight Committee (whether
by resignation, removal, death, or dissolution) of the Independent Member, Hisun and Kinderhook
shall mutually agree on a successor to the vacating Independent Member.

                        (ii)    Immediately upon the appointment of any successor Member, all
rights, powers, duties, authority and privileges of the predecessor Member hereunder will be vested
in and undertaken by the successor Member without any further act, and such successor Member
will not be liable personally for any act or omission of the predecessor Member.

                        (iii) Every successor Member appointed hereunder shall execute,
acknowledge, and deliver to the Litigation Trustee and other Members an instrument accepting the
appointment under this Litigation Trust Agreement and agreeing to be bound hereto, and thereupon
the successor Member without any further act, deed or conveyance, shall become vested with all
rights, powers, trusts and duties of the predecessor Member.

         8.7    Confidentiality.

                (a)     Each Member shall, during the period that such Member serves as a
Member under this Litigation Trust Agreement and for a period of two (2) years following the
termination of this Litigation Trust Agreement or following such Member’s removal or resignation
hereunder, hold strictly confidential and not use for personal gain any material, non-public
information of or pertaining to any Person or Entity to which any of the Litigation Trust Causes of
Action materials or Litigation Trust Assets relates or of which such Member has become aware in
their capacity as Member of the Litigation Trust Oversight Committee, until (i) such information
is made public other than by disclosure by such Member in violation of this Litigation Trust
Agreement; (ii) the Litigation Trust is required by law to disclose such information (in which case
the Litigation Trust shall provide the relevant Person or Entity reasonable advance notice and an
opportunity to protect his, her, or its rights); or (iii) the Litigation Trust obtains a waiver of
confidentiality from the applicable Person or Entity. Notwithstanding the foregoing, nothing
herein shall prohibit any Member from independently obtaining any such information pursuant to
valid legal process in connection with any action other than the Litigation Trust Causes of Action.

                                   ARTICLE IX
                       TERMINATION OF THE LITIGATION TRUST

         9.1    Termination of the Litigation Trust.

                (a)     The Litigation Trust shall terminate upon the occurrence of the earlier of
(i) (A) the full liquidation, administration, and distribution of the Litigation Trust Property in
accordance with the Plan, the Confirmation Order, and this Litigation Trust Agreement, and
(B) the full performance of all other duties and functions of the Litigation Trustee set forth in the
Plan, the Confirmation Order, and this Litigation Trust Agreement or (ii) the Litigation Trustee
determines, following the approval of the Litigation Trust Oversight Committee, that the
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administration of the Litigation Trust Causes of Action is not likely to yield sufficient additional
Litigation Trust Proceeds to justify further pursuit; provided that in no event shall the Litigation
Trust be dissolved later than five (5) years from the Effective Date, unless the Litigation Trust
Oversight Committee determines that a fixed period extension (approved by the Bankruptcy Court
within six (6) months of the beginning of the extended period, if the Litigation Trust Oversight
Committee reasonably determines that such approval is necessary to meet the requirements set
forth within Revenue Procedure 94-45, 1994-2 C.B. 684, and not to exceed two (2) years,
including any prior extensions, without a favorable private letter ruling from the IRS or an opinion
of counsel satisfactory to the Litigation Trustee that any further extension would not adversely
affect the status of the Litigation Trust as a “liquidating trust” for U.S. federal income tax purposes)
is necessary to facilitate or complete the liquidation of the Litigation Trust Property.

                (b)     The Litigation Trustee shall not unduly prolong the duration of the
Litigation Trust and shall at all times endeavor to resolve, settle, or otherwise dispose of all claims
that constitute Litigation Trust Causes of Action, subject to the limitations of Section 5.2 herein,
and to effect the distribution of the Litigation Trust Property to the holders of the Litigation Trust
Interests in accordance with the terms hereof and terminate the Litigation Trust as soon as
practicable. Prior to and upon termination of the Litigation Trust, the Litigation Trust Property
will be distributed to the holders of the Litigation Trust Interests, pursuant to the provisions set
forth in Article VI herein. If (i) the Litigation Trustee has sent two (2) notices by certified mail,
at least a month apart, to a holder of Litigation Trust Interests, inviting that holder to claim a
distribution of Litigation Trust Property, and (ii) a year has passed from the date of the second
notice without such holder’s claiming such Litigation Trust Property, such Litigation Trust
Property will be redistributed pro rata to all other holders of Litigation Trust Interests receiving
Litigation Trust Property pursuant to Article VI herein.

                (c)     If at any time the Litigation Trustee determines, in reliance upon the advice
of the Litigation Trust Professionals (or any one or more of them), that the expense of
administering the Litigation Trust so as to make a final distribution to the Litigation Trust Funders
or, if the obligation to pay the Initial Note Funding Reimbursement has been satisfied in full in
accordance with the Litigation Trust Note, the Litigation Trust Beneficiaries, is likely to exceed
the value of the Litigation Trust Assets then remaining in the Litigation Trust, the Litigation
Trustee, upon approval of the Litigation Trust Oversight Committee, may (i) reserve any amount
necessary to dissolve the Litigation Trust, (ii) donate any balance to a charitable organization (A)
described in section 501(c)(3) of the IRC, (B) exempt from U.S. federal income tax under section
501(a) of the IRC, (C) not a “private foundation,” as defined in section 509(a) of the IRC, and (D)
that is unrelated to the Debtors, the Litigation Trust, the Litigation Trustee, the Members, any
Litigation Trust Professionals and any insider of any of the foregoing, and (iii) dissolve the
Litigation Trust (all of the foregoing actions in clauses (i) through (iii) being referred to as the
“Dissolution Process”).

                (d)    Such date upon which the Litigation Trust shall finally be dissolved shall
be referred to herein as the “Termination Date.”




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         9.2     Continuance of the Litigation Trust for Winding Up.

                (a)    During the Dissolution Process, the Litigation Trustee, solely for the
purpose of liquidating and winding up the affairs of the Litigation Trust, shall continue to act as
such until its duties have been fully performed. During the Dissolution Process, the Litigation
Trustee shall continue to be entitled to receive the Litigation Trustee Fees called for by Section 7.2
herein and subject to Section 2.3 herein.

                 (b)    Upon termination of the Litigation Trust, the Litigation Trustee shall retain
for a period of two (2) years the books, records, the register of holders of Litigation Trust Interests,
and certificates and other documents and files which shall have been delivered to or created by the
Litigation Trustee to the extent not otherwise required to be handled by the Litigation Trustee in
accordance with Section 2.2 herein; provided that subject to the terms of any applicable protective
order and Section 2.2 herein, documents received by the Litigation Trustee solely in connection
with the conduct of the Litigation Trust Causes of Action, including discovery documents
produced by any party therein, may be destroyed at any time after the completion of the Litigation
Trust Causes of Action, including the expiration of time to take any appeals, but only to the extent
permitted by law, judicial rule, or other agreements pertaining to such documents. At the Litigation
Trustee’s discretion, all of such records and documents may, but need not, be destroyed at any
time after two (2) years from the completion and winding up of the affairs of the Litigation Trust.
Except as otherwise specifically provided herein, upon the termination of the Litigation Trust, the
Litigation Trustee shall have no further duties or obligations hereunder. Notwithstanding the
foregoing, the Litigation Trustee shall notify the Litigation Trust Beneficiaries at least three (3)
months prior to the destruction of any documents authorized to be destroyed under this Section
(b), and shall offer the Litigation Trust Beneficiaries an opportunity to take possession, custody,
and control of such documents.

                (c)     Except as otherwise specifically provided herein, upon the Termination
Date, the Litigation Trustee shall be deemed discharged and have no further duties or obligations
hereunder, except to account to the Litigation Trust Beneficiaries as provided herein, the Litigation
Trust Interests shall be cancelled, and the Litigation Trust will be deemed to have dissolved.

                                    ARTICLE X
                  LIMITATIONS ON LIABILITY AND INDEMNIFICATION

         10.1    No Further Liability.

               (a)      Each of the Litigation Trustee, the Litigation Trust Oversight Committee,
the Members and their respective officers, directors, shareholders, designees, partners, affiliates,
employees, or professionals, or any duly designated agent or representative of the
Litigation Trustee or the Litigation Trust Oversight Committee, shall have no liability for any
actions or omissions in accordance with this Litigation Trust Agreement or with respect to the
Litigation Trust, other than actions or omissions resulting from such Person or Entity’s own fraud,
willful misconduct, gross negligence, self-dealing, or ultra vires acts. The Litigation Trustee and
the Litigation Trust Oversight Committee may, in connection with the performance of their
functions, and in their sole and absolute discretion, consult with their attorneys, accountants, and
financial advisors and shall not be liable for any act taken, omitted to be taken, or suffered to be

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done in accordance with advice or opinions rendered by such persons. Notwithstanding such
authority, and except as otherwise expressly required herein, neither the Litigation Trustee nor the
Litigation Trust Oversight Committee shall be under any obligation to consult with their attorneys,
accountants, financial advisors, or agents, and their determination not to do so shall not result in
the imposition of liability on the Litigation Trustee or the Litigation Trust Oversight Committee
or its Members or, as applicable, their respective designees, unless such determination is based on
the Litigation Trustee’s or the Litigation Trust Oversight Committee’s respective fraud, willful
misconduct, gross negligence, self-dealing, or ultra vires acts.

               (b)     Without limiting the generality of the foregoing, the Litigation Trustee, the
Litigation Trust Oversight Committee, the Members and their respective officers, directors,
shareholders, designees, partners, affiliates, employees, or professionals, or any duly designated
agent or representative of the Litigation Trustee or the Litigation Trust Oversight Committee, may
rely without independent investigation on copies of orders of the Bankruptcy Court reasonably
believed by such Person or Entity to be genuine and shall have no liability for actions taken in
reliance thereon.

                (c)      None of the provisions of this Litigation Trust Agreement shall require the
Litigation Trustee, the Litigation Trust Oversight Committee, the Members and their respective
officers, directors, shareholders, designees, partners, affiliates, employees, or professionals, or any
duly designated agent or representative of the Litigation Trustee or the Litigation Trust Oversight
Committee to expend or risk their own funds or otherwise incur personal financial liability in the
performance of any of their duties hereunder or in the exercise of any of their rights and powers.

                (d)    Each of the Litigation Trustee, the Litigation Trust Oversight Committee,
the Members and their respective officers, directors, shareholders, designees, partners, affiliates,
employees, or professionals, or any duly designated agent or representative of the Litigation
Trustee or the Litigation Trust Oversight Committee may rely without inquiry upon writings
delivered to such Person or Entity pursuant to the Plan or the Confirmation Order that such Person
or Entity reasonably believes to be genuine and to have been properly given. Notwithstanding the
foregoing, nothing in this Section 10.1 shall relieve the Litigation Trustee, the Litigation Trust
Oversight Committee, the Members and their respective officers, directors, shareholders,
designees, partners, affiliates, employees, or professionals, or any duly designated agent or
representative of the Litigation Trustee, the Litigation Trust Oversight Committee from any
liability for any actions or omissions arising out of such Person’s or Entity’s fraud, willful
misconduct or gross negligence.

                (e)      No termination of this Litigation Trust Agreement or amendment,
modification or repeal of this Section 10.1 shall adversely affect any right or protection of the
Litigation Trustee, the Litigation Trust Oversight Committee, the Members and their respective
officers, directors, shareholders, designees, partners, affiliates, employees, or professionals, or any
duly designated agent or representative of the Litigation Trustee or the Litigation Trust Oversight
Committee that exists at the time of such amendment, modification or repeal.




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     10.2      Indemnification of the Litigation Trustee and the Litigation Trust Oversight
Committee.

                 (a)    From and after the Effective Date, each of the Litigation Trustee, the
Litigation Trust, the Litigation Trust Oversight Committee, and all of their respective designees,
partners, affiliates, employees, and professionals, and any duly designated agent or representative
of the Litigation Trustee, the Litigation Trust Oversight Committee or any of its Members (in their
capacity as such) (each, a “Litigation Trust Indemnified Party,” and collectively, the “Litigation
Trust Indemnified Parties”) shall be, and hereby is, indemnified by the Litigation Trust, to the
fullest extent permitted by applicable law, from and against any and all liabilities, losses, claims,
debts, dues, accounts, actions, suits, Causes of Action, bonds, covenants, judgments, damages,
attorneys’ fees, defense costs and other assertions of liability arising out of any such Litigation
Trust Indemnified Party’s exercise of what such Litigation Trust Indemnified Party reasonably
understands to be its powers or the discharge of what such Litigation Trust Indemnified Party
reasonably understands to be its duties conferred by the Plan, the Confirmation Order or this
Litigation Trust Agreement, any order of the Bankruptcy Court entered pursuant to, or in
furtherance of, the Plan, applicable law or otherwise (except only for actions or omissions to act
to the extent determined by a Final Order to be due to such Litigation Trust Indemnified Party’s
own fraud, willful misconduct or gross negligence on and after the Effective Date). The foregoing
indemnification shall also extend to matters directly or indirectly in connection with, arising out
of, based on, or in any way related to: (i) this Litigation Trust Agreement; (ii) the services to be
rendered pursuant to this Litigation Trust Agreement; (iii) any document or information, whether
oral or written, referred to herein or supplied to the Litigation Trustee; or (iv) proceedings by or
on behalf of any creditor. The Litigation Trust shall, on demand, advance or pay promptly, at the
election of the Litigation Trust Indemnified Party, solely out of the Litigation Trust Property, on
behalf of each Litigation Trust Indemnified Party, attorneys’ fees and other expenses and
disbursements to which such Litigation Trust Indemnified Party would be entitled pursuant to the
foregoing indemnification provision; provided that any Litigation Trust Indemnified Party
receiving any such advance shall execute a written undertaking to repay such advance if a court of
competent jurisdiction ultimately determines, by Final Order, that such Litigation Trust
Indemnified Party is not entitled to indemnification hereunder due to such Person’s own fraud,
willful misconduct, gross negligence, self-dealing, or ultra vires acts. Any indemnification claim
of a Litigation Trust Indemnified Party shall be entitled to a priority distribution from the Litigation
Trust Property, ahead of the Litigation Trust Interests and any other claim to or interest in such
assets. In any matter covered by the first two sentences of this Section (a), any party entitled to
indemnification shall have the right to employ such party’s own separate counsel, at the Litigation
Trust’s expense, subject to the foregoing terms and conditions. In addition, the Litigation Trust
shall purchase insurance coverage as set forth in Section 5.1(a)(xiv) herein, including fiduciary
liability insurance using funds from the Litigation Trust Property for the benefit of the Litigation
Trustee and the Members. The indemnification provided under this Section 10.2 shall survive the
death, dissolution, resignation or removal, as may be applicable, of the Litigation Trustee, the
Litigation Trust Oversight Committee, any Member or any other Litigation Trust Indemnified
Party and shall inure to the benefit of the Litigation Trustee’s, each Member’s and each other
Litigation Trust Indemnified Party’s respective heirs, successors and assigns.

               (b)     The foregoing indemnity in respect of any Litigation Trust Indemnified
Party shall survive the termination of such Litigation Trust Indemnified Party from the capacity

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for which such party is indemnified. Termination or modification of this Litigation Trust
Agreement shall not affect any indemnification rights or obligations set forth herein.

                (c)   The Litigation Trust may, with the approval of the Litigation Trust
Oversight Committee, indemnify any Person who is not a Litigation Trust Indemnified Party for
any loss, cost, damage, expense or liability for which a Litigation Trust Indemnified Party would
be entitled to mandatory indemnification under this Section 10.2.

               (d)    Any Litigation Trust Indemnified Party may waive the benefits of
indemnification under this Section 10.2, but only by an instrument in writing executed by such
Litigation Trust Indemnified Party.

                 (e)     The rights to indemnification under this Section 10.2 are not exclusive of
other rights which any Litigation Trust Indemnified Party may otherwise have at law or in equity,
including, without limitation, common law rights to indemnification or contribution. Nothing in
this Section 10.2 will affect the rights or obligations of any Person (or the limitations on those
rights or obligations) under any other agreement or instrument to which that Person is a party.
Further, the Litigation Trust hereby agrees: (i) that the Litigation Trust is the indemnitor of first
resort (i.e., in the event any Litigation Trust Indemnified Party has the right to receive
indemnification from one or more third party, the Litigation Trust’s obligations to such Litigation
Trust Indemnified Party are primary); (ii) that the Litigation Trust shall be required to pay the full
amount of expenses (including attorneys’ fees) actually incurred by such Litigation Trust
Indemnified Party in connection with any proceeding as to which the Litigation Trust Indemnified
Party is entitled to indemnification hereunder in advance of the final disposition of such proceeding
from the Litigation Trust Proceeds; (iii) that the Litigation Trust irrevocably waives, relinquishes
and releases such third parties from any and all claims by the Litigation Trust against such third
parties for contribution, subrogation or any other recovery of any kind in respect thereof; and
(iv) no Litigation Trust Indemnified Party shall have the obligation to reduce, offset, allocate,
pursue or apportion any indemnification advancement, contribution or insurance coverage among
multiple parties owing indemnification obligations to such Litigation Trust Indemnified Party prior
to the Litigation Trust’s satisfaction of its indemnification obligations hereunder. For the
avoidance of doubt, each Litigation Trust Indemnified Party shall be entitled, subject to the terms
hereof, to indemnification for any costs and attorneys’ fees such Litigation Trust Indemnified Party
may incur in connection with enforcing any of its rights under this Article X.

         10.3    Litigation Trust Liabilities.

                (a)     All liabilities of the Litigation Trust, including, without limitation,
indemnity obligations under Section 10.2 of this Litigation Trust Agreement, will be liabilities of
the Litigation Trust as an Entity and will be paid or satisfied solely from the Litigation Trust
Property and paid on a priority basis. No liability of the Litigation Trust will be payable in whole
or in part by any Litigation Trust Beneficiary individually or in the Litigation Trust Beneficiary’s
capacity as a Litigation Trust Beneficiary, by the Litigation Trustee individually or in the Litigation
Trustee’s capacity as Litigation Trustee, by any Member individually or in the Member’s capacity
as Member, or by any representative, member, partner, shareholder, director, officer, professional,
employees, agent, affiliate or advisor of any Litigation Trust Beneficiary, any Member, the
Litigation Trustee or their respective affiliates.

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         10.4    Limitation of Liability.

               (a)     None of the Litigation Trust Indemnified Parties shall be liable for indirect,
punitive, exemplary, consequential, special or other damages for a breach of this Litigation Trust
Agreement, except to the extent his/her/its actions or omissions to act, as determined by a
Final Order, are due to such Litigation Trust Indemnified Party’s own fraud or willful misconduct
from and after the Effective Date and any of the foregoing damages are awarded pursuant to any
such Final Order.

         10.5    Burden of Proof.

                (a)    In making a determination with respect to entitlement to exculpation or
indemnification hereunder, the court, Person or Entity making such determination shall presume
that any Litigation Trust Indemnified Party is entitled to exculpation and indemnification under
this Litigation Trust Agreement and any Person seeking to overcome such presumption shall have
the burden of proof to overcome that presumption.

         10.6    Reliance by Trustee.

                 (a)    Except as otherwise provided in this Article X:

                       (i)     The Litigation Trustee and the Litigation Trust Oversight
Committee may rely, and shall be protected in acting upon, any resolution, certificate, statement,
instrument, opinion, report, notice, request, consent, order, or other paper, document, spreadsheet,
or database believed by it to be genuine and to have been signed or presented by the proper party
or parties; and

                       (ii)   Subject to the terms of any applicable protective order, persons
dealing with the Litigation Trustee or the Litigation Trust Oversight Committee shall look only to
Litigation Trust Property to satisfy any liability incurred by the Litigation Trustee or the
Litigation Trust Oversight Committee, other than in the case of fraud, willful misconduct, gross
negligence, self-dealing, or ultra vires acts, to such person in carrying out the terms of this
Litigation Trust Agreement, and neither the Litigation Trustee, the Litigation Trust Oversight
Committee, its Members, nor any of their respective designees, partners, affiliates, agents,
employees, representatives, attorneys, or professionals shall have any personal obligation or
recourse of any nature or kind whatsoever to satisfy any such liability, other than in the case of
fraud, willful misconduct, gross negligence, self-dealing or ultra vires acts.

                                             ARTICLE XI
                                            TAX MATTERS

         11.1    Tax Treatment.

                (a)     Treatment of Litigation Trust Assets Transfer. For all federal income tax
purposes, all parties (including, without limitation, the Debtors, the Litigation Trustee and the
Litigation Trust Beneficiaries) shall treat the transfer of the Litigation Trust Assets to the Litigation
Trust for the benefit of the Litigation Trust Beneficiaries, whether their Claims are Allowed on or
after the Effective Date, including any amounts or other assets subsequently transferred to the

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Litigation Trust (but only at such time as actually transferred) as (i) a transfer of the
Litigation Trust Assets (subject to any obligations relating to such Litigation Trust Assets) directly
to the Litigation Trust Beneficiaries, followed by (ii) the transfer by the Litigation Trust
Beneficiaries to the Litigation Trust of the Litigation Trust Assets in exchange for Litigation Trust
Interests. Accordingly, the Litigation Trust Beneficiaries shall be treated for U.S. federal income
tax purposes as the grantors and owners of their respective share of the Litigation Trust Assets.
The foregoing treatment shall also apply, to the extent permitted by applicable law, for state and
local income tax purposes.

                (b)     Grantor Trust Election. To the extent permitted by law, the Debtors will
elect to treat the Litigation Trust as a “grantor trust,” solely for tax purposes, pursuant to the
Treasury Regulations. The Litigation Trustee will reasonably cooperate with such election.

         11.2    Tax Reporting.

                (a)     The “taxable year” of the Litigation Trust shall be the “calendar year” as
such terms are defined in section 441 of the IRC. The Litigation Trustee shall file tax returns for
the Litigation Trust treating the Litigation Trust as a grantor trust pursuant to Treasury Regulation
section 1.671-4(a) and in accordance with this Section 11.2. The Litigation Trustee shall also
annually send to each Litigation Trust Beneficiary a grantor tax information letter setting forth
such Litigation Trust Beneficiary’s share of items of income, gain, loss, deduction, or credit
(including the receipts and expenditures of the Litigation Trust) as relevant for U.S. federal income
tax purposes and will instruct all such Litigation Trust Beneficiaries to use such information in
preparing their U.S. federal income tax returns; provided that if the Litigation Trustee elects to
make distributions through an intermediary (such as DTC), it shall provide such grantor tax
information letter to such intermediaries for them to provide to such Litigation Trust Beneficiaries.
Upon request, the Litigation Trustee shall provide such other information, if any, with respect to
the Litigation Trust as may be reasonably necessary for the preparation of such Litigation Trust
Beneficiary’s U.S. federal, state or local income tax returns. The Litigation Trustee shall also file
(or cause to be filed) any other statements, returns or disclosures relating to the Litigation Trust
that are required by any governmental unit.

                 (b)    As soon as reasonably practicable following the establishment of the
Litigation Trust, the Litigation Trustee, at the direction of and in consultation with the Litigation
Trust Oversight Committee, shall determine the value of the Litigation Trust Assets transferred to
the Litigation Trust, based on the good-faith determination of the Litigation Trustee, and the
Litigation Trustee shall apprise, in writing, the Litigation Trust Beneficiaries of such valuation.
The valuation shall be used consistently by all Parties (including the Litigation Trustee and the
Litigation Trust Beneficiaries) for all federal income tax purposes. In connection with the
preparation of the valuation contemplated hereby and by the Plan, the Litigation Trust shall be
entitled to retain such Litigation Trust Professionals as the Litigation Trust shall determine to be
appropriate or necessary, and the Litigation Trustee, subject to the direction of the Litigation Trust
Oversight Committee, shall take such other actions in connection therewith as it determines to be
appropriate or necessary. The Litigation Trust shall bear all of the reasonable costs and expenses
incurred in connection with determining such value, including the fees and expenses of any
Litigation Trust Professionals retained in connection therewith.


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                (c)    The Litigation Trustee shall provide the Reorganized Debtors, as transferors
to the Litigation Trust, with any statements or reports required by Treasury Regulation section
1.671-4 or other applicable Treasury Regulations, to enable the Reorganized Debtors to calculate
tax obligations and attributes arising from the Litigation Trust.

                (d)     The Litigation Trustee may request an expedited determination of taxes of
the Litigation Trust under section 505(b) of the Bankruptcy Code for all returns filed for, or on
behalf of, the Litigation Trust for all taxable periods through the dissolution of the Litigation Trust

         11.3    Allocations of Litigation Trust Taxable Income.

                  (a)     Allocations of Litigation Trust taxable income among the Litigation Trust
Beneficiaries shall be determined by reference to the manner in which an amount of Cash equal to
such taxable income would be distributed (were such Cash permitted to be distributed at such time,
and without regard to any restrictions on distributions set forth in the Plan or this Litigation Trust
Agreement) if, immediately prior to such deemed distribution, the Litigation Trust had distributed
all its assets (valued at their tax book value) to the Litigation Trust Beneficiaries, adjusted for prior
taxable income and loss and taking into account all prior and concurrent distributions from the
Litigation Trust. Similarly, taxable loss of the Litigation Trust shall be allocated by reference to
the manner in which an economic loss would be borne immediately after a hypothetical liquidating
distribution of the remaining Litigation Trust Assets.

               (b)     The tax book value of the Litigation Trust Assets for purposes of this
Section 11.3 shall equal their fair market value on the Effective Date, adjusted in accordance with
tax accounting principles prescribed by the IRC, the applicable Treasury Regulations, and other
applicable administrative and judicial authorities and pronouncements and such fair market value
shall be used by all Parties for all tax purposes.

         11.4    Withholding of Taxes.

                (a)     The Litigation Trustee shall deduct and withhold and pay to the appropriate
governmental unit all amounts required to be deducted or withheld pursuant to the IRC or any
provision of any state, local or non-U.S. tax law with respect to any payment or distribution to the
Litigation Trust Beneficiaries; provided that the Litigation Trustee shall provide reasonable
advance notice of any such withholding or deduction. Notwithstanding the above, each holder of
an Allowed Claim that is to receive a distribution under the Plan shall have the sole and exclusive
responsibility for the satisfaction and payment of any taxes imposed on such holder by any
governmental authority, including income, withholding and other tax obligations, on account of
such distribution. All such amounts withheld and paid to the appropriate governmental unit shall
be treated as amounts distributed to such Litigation Trust Beneficiaries for all purposes of this
Litigation Trust Agreement.

                (b)     The Litigation Trustee shall be authorized to collect such tax information
from the Litigation Trust Beneficiaries (including, without limitation, social security numbers or
other tax identification numbers) as it, in its sole discretion, deems necessary to effectuate the Plan,
the Confirmation Order, and this Litigation Trust Agreement. As a condition to receive
distributions under the Plan, all Litigation Trust Beneficiaries may be required to identify

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themselves to the Litigation Trustee and provide tax information and the specifics of their holdings,
to the extent the Litigation Trustee deems appropriate, including an IRS Form W-9 or, in the case
of Litigation Trust Beneficiaries that are not United States persons for federal income tax purposes,
certification of foreign status on an applicable IRS Form W-8.

                (c)     The Litigation Trustee may refuse to make a distribution to any Litigation
Trust Beneficiary that fails to furnish such information in a timely fashion, until such information
is delivered; provided that upon the delivery of such information by a Litigation Trust Beneficiary,
the Litigation Trustee shall make such distribution to which the Litigation Trust Beneficiary is
entitled, without interest; provided, further, that if the Litigation Trustee fails to withhold in respect
of amounts received or distributable with respect to any such holder and the Litigation Trustee is
later held liable for the amount of such withholding, such holder shall reimburse the
Litigation Trustee for such liability. The identification requirements in Section (b) and this
Section (c) may, in certain cases, extend to holders who hold their securities in street name. If a
Litigation Trust Beneficiary fails to comply with such a request for tax information within
180 days, the Litigation Trustee may deem such distribution an unclaimed distribution and treated
as such in accordance with the Plan.

                (d)     In the event that the Litigation Trustee elects to make distributions through
an intermediary (such as DTC), the party who would be the withholding agent with respect to
distributions to the Litigation Trust Beneficiary under U.S. federal income tax principles shall be
responsible for withholding tax compliance with respect to any such distribution, based on
instructions on the character of the income from the Litigation Trustee.

                                       ARTICLE XII
                                  AMENDMENT AND WAIVER

         12.1    Amendment and Waiver.

                (a)     Any provision of this Litigation Trust Agreement may be amended, and any
right of the Litigation Trust may be waived, only by the joint written agreement of Kinderhook,
Hisun, the Litigation Trustee, and a majority vote of the Litigation Trust Oversight Committee,
but with notice to each of the holders of Litigation Trust Interests; provided that (i) any such
amendment or waiver that affects a provision of this Litigation Trust Agreement requiring a
unanimous vote of the Litigation Trust Oversight Committee or that affects Section 3.1 may be
approved only by the joint agreement of Kinderhook, Hisun, the Litigation Trustee, and a
unanimous vote of the Litigation Trust Oversight Committee, (ii) any such amendment or waiver
that adversely affects the Litigation Trust Beneficiaries’ rights to distributions under Section 6.1
requires the approval of any adversely affected Litigation Trust Beneficiaries, and (iii) this Section
(a) may not be amended or waived.

               (b)      Technical amendments to this Litigation Trust Agreement may be made, as
necessary to clarify this Litigation Trust Agreement or enable the Litigation Trustee to effectuate
the terms of this Litigation Trust Agreement by the Litigation Trustee with written approval of
Kinderhook and the Litigation Trust Oversight Committee, but with notice to each of the holders
of Litigation Trust Interests.


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                (c)      Notwithstanding the above, no amendment, supplement or waiver of or to
this Litigation Trust Agreement shall (i) expand the scope of the Litigation Trust Causes of Action,
(ii) adversely affect the payments and/or distributions to be made under the Plan, the Confirmation
Order or this Litigation Trust Agreement, (iii) adversely affect the U.S. federal income tax status
of the Litigation Trust as a “liquidating trust”, or (iv) be inconsistent with the purpose and intention
of the Litigation Trust to liquidate in an expeditious but orderly manner the Litigation Trust Assets
in accordance with Treasury Regulation section 301.7701-4(d).

               (d)    No failure by the Litigation Trust, the Litigation Trustee, Kinderhook or the
Litigation Trust Oversight Committee to exercise or delay in exercising any right, power, or
privilege hereunder shall operate as a waiver, nor shall any single or partial exercise of any right,
power, or privilege hereunder preclude any further exercise thereof, or of any other right, power,
or privilege.

                                     ARTICLE XIII
                               MISCELLANEOUS PROVISIONS

        13.1 Governing Law. The Litigation Trust created by this Agreement shall be construed
in accordance with and governed by the laws of the State of Delaware without giving effect to
principles of conflict of laws, but subject to any applicable federal law.

         13.2 Jurisdiction.     Subject to the proviso below, the Parties agree that the
Bankruptcy Court shall have jurisdiction over the Litigation Trust and the Litigation Trustee,
including, without limitation, the administration and activities of the Litigation Trust and the
Litigation Trustee to the fullest extent permitted by law; provided that notwithstanding the
foregoing, the Litigation Trustee shall have power and authority to bring any action in any court
of competent jurisdiction to prosecute any of the Litigation Trust Causes of Action and pursue any
recoveries in respect of any Litigation Trust Causes of Action. Each Party to this Litigation Trust
Agreement hereby irrevocably consents to the jurisdiction of the Bankruptcy Court in any action
to enforce, interpret or construe any provision of this Litigation Trust Agreement or of any other
agreement or document delivered in connection with this Litigation Trust Agreement, and also
hereby irrevocably waives any defense of improper venue, forum non conveniens, or lack of
personal jurisdiction to any such action brought in the Bankruptcy Court. Until the closing or
dismissal of the Chapter 11 Cases, any action to enforce, interpret, or construe any provision of
this Litigation Trust Agreement will be brought only in the Bankruptcy Court; provided that in the
event that the Bankruptcy Court does not have jurisdiction pursuant to the foregoing provision,
including after the closing or dismissal of the Chapter 11 Cases, any action to enforce, interpret,
or construe any provision of this Litigation Trust Agreement will be brought in either a state or
federal court of competent jurisdiction in the State of Delaware (without prejudice to the right of
any Party to seek to reopen the Chapter 11 Cases to hear matters with respect to this Litigation
Trust Agreement). Each Party hereby irrevocably consents to the service by certified or registered
mail, return receipt requested, of any process in any action to enforce, interpret, or construe any
provision of this Litigation Trust Agreement.

       13.3 Severability. In the event any provision of this Litigation Trust Agreement or the
application thereof to any person or circumstances shall be determined by Final Order to be invalid
or unenforceable to any extent, the remainder of this Litigation Trust Agreement or the application

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of such provision to persons or circumstances or in jurisdictions other than those as to or in which
it is held invalid or unenforceable, shall not be affected thereby, and each provision of this
Litigation Trust Agreement shall be valid and enforceable to the fullest extent permitted by law.

        13.4 Notices. Any notice or other communication required or permitted to be made
under this Litigation Trust Agreement shall be in writing and shall be deemed to have been
sufficiently given, for all purposes, if delivered personally or by facsimile or electronic
communication, sent by nationally recognized overnight delivery service or mailed by first-class
mail. The date of receipt of such notice shall be the earliest of (a) the date of actual receipt by the
receiving party, (b) the date of personal delivery (or refusal upon presentation for delivery), (c) the
date of the transmission confirmation or (d) three (3) business days after service by first-class mail,
to the receiving party’s below address(es):

         If to the Litigation Trustee:

                                [NAME]
                                [TITLE]
                                [ADDRESS]
                                [ADDRESS]
                                Email: [●]

         If to the Debtors or the Reorganized Debtors:

                                [NAME]
                                [TITLE]
                                Performance Powersports Group Holdings, Inc.
                                1775 East University Drive
                                Tempe, AZ 85281

                                With copies to:

                                Klehr Harrison Harvey Branzburg LLP
                                919 North Market Street
                                Suite 1000
                                Wilmington, DE 19801
                                Attention: Domenic E. Pacitti
                                             Michael W. Yurkewicz
                                             Sally E. Veghte
                                Email:       dpacitti@klehr.com
                                             myurkewicz@klehr.com
                                             svenghte@klehr.com

                                and

                                Klehr Harrison Harvey Branzburg LLP
                                1835 Market Street, Suite 1400
                                Philadelphia, PA 19103
                                Attention: Morton R. Branzburg

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                               Email:        mbranzburg@klehr.com

               If to the Litigation Trust Oversight Committee:

                               [NAME]
                               [TITLE]
                               [ADDRESS ]
                               [ADDRESS]
                               Email: [●]

                               [NAME]
                               [TITLE]
                               [ADDRESS ]
                               [ADDRESS]
                               Email: [●]

                               [NAME]
                               [TITLE]
                               [ADDRESS]
                               [ADDRESS]
                               Email: [●]

               If to a holder of a Litigation Trust Interest:

                               To the name and address set forth on the registry
                               maintained by the Litigation Trustee

               If to Kinderhook:

                               Kirkland & Ellis LLP
                               601 Lexington Avenue
                               New York, NY 1002
                               Attention: Brian Schartz, P.C.
                                           Allyson B. Smith
                               Email:      brian.schartz@kirkland.com
                                           allyson.smith@kirkland.com


               If to Hisun:

                               Hogan Lovells US LLP
                               390 Madison Avenue
                               New York, NY 1017
                               Attention: John D. Beck
                                          Jennifer Y. Lee
                               Email:     john.beck@hoganlovells.com
                                          jennifer.lee@hoganlovells.com


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        13.5 Headings. The section headings contained in this Litigation Trust Agreement are
solely for convenience of reference and shall not affect the meaning or interpretation of this
Litigation Trust Agreement or of any term or provision hereof.

        13.6 No Recourse to Beneficiaries. In no event shall the Litigation Trust Beneficiaries
have any responsibility for paying any expenses, fees, and other obligations of the Litigation Trust
Causes of Action, and in no event shall the Litigation Trust, the Litigation Trustee, or the Litigation
Trust Oversight Committee, or any of their agents, representatives, or professionals, have recourse
to the Litigation Trust Beneficiaries therefor.

       13.7 The Litigation Trust’s Compliance With Other Orders. The Litigation Trustee shall
be bound (to the same extent that the Debtors would have been bound but for this Litigation Trust
Agreement) by all orders entered by the Bankruptcy Court on or before the Effective Date.

        13.8 Entire Agreement. This Litigation Trust Agreement and the exhibits attached
hereto, together with the Plan and the Confirmation Order, contain the entire agreement between
the parties and supersede all prior and contemporaneous agreements or understandings between
the parties with respect to the subject matter hereof.

        13.9 Cumulative Rights and Remedies. The rights and remedies provided in this
Litigation Trust Agreement are cumulative and are not exclusive of any rights under law or in
equity, subject to any limitations provided under the Plan and the Confirmation Order.

        13.10 Meanings of Other Terms. Except where the context otherwise requires, words
importing the masculine gender include the feminine and the neuter, if appropriate, words
importing the singular number shall include the plural number and vice versa and words importing
persons shall include firms, associations, corporations and other entities. All references herein to
Articles, Sections and other subdivisions, unless referring specifically to the Plan or provisions of
the Bankruptcy Code, the Bankruptcy Rules, or other law, statute or regulation, refer to the
corresponding Articles, Sections and other subdivisions of this Litigation Trust Agreement and the
words “herein,” “hereof” or “herewith” and words of similar import refer to this Litigation Trust
Agreement as a whole and not to any particular Article, Section or subdivision of this Litigation
Trust Agreement. The term “including” shall mean “including, without limitation.”

        13.11 Further Assurances. From and after the Effective Date, the parties hereto covenant
and agree to execute and deliver all such documents and notices and to take all such further actions
as may reasonably be required from time to time to carry out the intent and purposes of this
Litigation Trust Agreement, and to consummate the transactions contemplated hereby.

        13.12 Counterparts. This Litigation Trust Agreement may be executed in any number of
counterparts, each of which shall be deemed an original, but such counterparts shall together
constitute but one and the same instrument. A facsimile or electronic mail signature of any party
shall be considered to have the same binding legal effect as an original signature.


                            [Remainder of page intentionally left blank]



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        IN WITNESS WHEREOF, the parties hereto have either executed and acknowledged this
Litigation Trust Agreement, or caused this Litigation Trust Agreement to be executed and
acknowledged on their behalf by their duly authorized officers all as of the date first above written.



         FOR THE DEBTORS AND REORGANIZED DEBTORS



                                        Performance Powersports Group Investor, LLC

                                        By:
                                        Name:
                                        Title:


                                        Performance Powersports Group Holdings, Inc.

                                        By:
                                        Name:
                                        Title:


                                        Performance Powersports Group Purchaser, Inc.

                                        By:
                                        Name:
                                        Title:

                                        Performance Powersports Group, Inc.

                                        By:
                                        Name:
                                        Title:




                              [Signature Page – Litigation Trust Agreement]
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FOR THE LITIGATION TRUSTEE



      ________________________ (solely in his capacity as Litigation Trustee for the
                               Litigation Trust)
Name: Peter Kravitz




                           [Signature Page – Litigation Trust Agreement]
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FOR THE MEMBERS OF THE LITIGATION TRUST OVERSIGHT COMMITTEE

                                    [●]

                                    By:
                                    Name:
                                    Title:


                                    [●]

                                    By:
                                    Name:
                                    Title:


                                    [●]

                                    By:
                                    Name:
                                    Title:




                          [Signature Page – Litigation Trust Agreement]
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FOR KINDERHOOK

                                  CPS USA Acquisition, LLC

                                  By:
                                  Name:
                                  Title:




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                                      EXHIBIT A

                                  Litigation Trust Note




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                                  Exhibit D
                            Form of Litigation Trust Note




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              SECURED PROMISSORY NOTE AND SECURITY AGREEMENT

                                                                                          [●], 2023

        FOR VALUE RECEIVED, the undersigned, PPG Litigation Trust (the “Borrower”),
hereby promises to pay to the order of CPS USA ACQUISITION, LLC (the “Lender” (such term
used hereinafter to refer to such Person solely in its capacity as a holder of the Loan and other
Obligations, and not in any other capacity)), on the Termination Date (as defined in the Litigation
Trust Agreement referenced below) (the “Maturity Date”), or the date of any earlier acceleration
of the Obligations (such term and other capitalized terms used hereinafter have the meanings set
forth below) hereunder, the lesser of (x) the principal sum of FIVE HUNDRED THOUSAND
AND 00/100 DOLLARS ($500,000.00) and (y) the then outstanding amounts that have been
advanced by the Lender to the Borrower as principal of the Loan under this Secured Promissory
Note and Security Agreement (together with any note or other instrument issued in substitution or
replacement of, or exchange for said note as said note or any such note or instrument may be
amended, restated, replaced, supplemented or otherwise modified, collectively, this “Note”), in
each case as may be increased by PIK Interest hereunder, plus accrued but unpaid interest thereon
as provided herein. Certain capitalized terms used herein are defined below. Capitalized terms
used but not defined herein shall have the meanings ascribed to them in the Litigation Trust
Agreement (as defined below).

        This Note evidences, among other things, (a) the commitment of the Lender to fund on the
“effective date” of the Plan, subject to the satisfaction (or waiver by the Lender in its sole
discretion) of the Funding Conditions and the other terms and conditions set forth herein as of such
date (such date, the “Funding Date”), a loan to the Borrower in the principal amount of FIVE
HUNDRED THOUSAND DOLLARS ($500,000) (such loan, together with any PIK Interest and
other amounts, if any, accrued and added hereunder from time to time to the principal amount of
this Note, collectively, the “Loan”), with such amounts to be funded to the sole deposit account of
the Borrower (the account information for which shall be provided in writing to the Lender not
less than five Business Days prior to the Funding Date), and (b) the obligations of the Borrower
(i) to repay the principal amount of the Loan, (ii) to pay interest, as herein provided, on the
principal amount hereof remaining unpaid from time to time, and (iii) to pay other amounts,
including, without limitation, in respect of the indemnities set forth herein, which may become due
and payable hereunder and under the Note Documents as herein and therein provided (collectively,
such obligations are the “Obligations”). The Loan and all of the other Obligations of the Borrower
arising under this Note and the other Note Documents shall constitute one general obligation of
the Borrower secured by all of the Collateral. The Loan or any portion thereof, once repaid, shall
not be reborrowed.

        The Borrower issues this Note on the date hereof pursuant to the Fourth Amended and
Restated Asset Purchase Agreement, dated as of March 26, 2023 (as amended, amended and
restated, supplemented or otherwise modified, the “Asset Purchase Agreement”), by and among
Performance Powersports Group Investor, LLC, Performance Powersports Group Holdings, Inc.,
their direct and indirect subsidiaries named therein, and CPS USA Acquisition, LLC (“Buyer”),
which provides for the sale of substantially all of the assets of the Debtors free and clear of all
lines, claims, encumbrances and other interests (except certain assumed liabilities as set forth in


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the Asset Purchase Agreement) to Buyer concurrently with the establishment of the Litigation
Trust and the execution and delivery of this Note. The Borrower irrevocably authorizes the Lender
to make or cause to be made, at or about the time of any additional principal amount being added
to the loan under this Note or at the time of receipt of any payment of principal of this Note, an
appropriate notation on its records, including computer records, reflecting the making of such loan
or the receipt of such payment. The outstanding amount of the Loan set forth on such records,
including computer records, maintained by the Lender shall, absent manifest error, be conclusive
and binding evidence of the principal amount thereof owing and unpaid to the Lender, but the
failure to record, or any error in so recording, any such amount on any such record shall not limit
or otherwise affect the obligation of the Borrower hereunder to make payments of principal and
interest on, this Note when due.

        The Borrower also hereby promises to pay interest on the entire unpaid principal amount
of the Loan at a per annum rate which shall equal (for any monthly period for which interest is
calculated) 12.0% until the entire amount of the Loan shall be paid in full (the “Interest Rate”).
All accrued and unpaid interest with respect to the Loan shall be absolutely due and payable by
the Borrower to the Holder hereof on the last Business Day of each calendar quarter and at maturity
of the Loan (whether by acceleration or otherwise) or earlier prepayment at any time of the Loan
or any portion thereof; provided that interest due on any such quarterly interest payment date
before the Maturity Date will be paid in kind by increasing the principal amount of the Loan and
this Note on such interest payment date by the accrued amount of such interest due on such date
(“PIK Interest”).

         The Borrower also hereby promises to pay interest on each overdue amount (whether of
principal, interest or otherwise) payable on or in respect of this Note or the indebtedness evidenced
hereby, to the extent permitted by applicable law, from the date on which such amount shall have
first become due and payable in accordance with the terms hereof to the date on which such amount
shall be paid to the Holder of this Note (whether before or after judgment), at an annual rate of
interest which shall (to the extent permitted by applicable law) at all times be equal to two percent
(2%) above the Interest Rate. The unpaid interest accrued on each overdue amount in accordance
with the foregoing terms of this paragraph shall become absolutely due and payable in kind by the
Borrower to the Holder hereof on demand by the Holder of this Note at any time. Interest on each
overdue amount will continue to accrue, as provided by the foregoing terms of this paragraph, and
will (to the extent permitted by applicable law) be compounded monthly until the obligations of
the Borrower in respect of the payment of such overdue amount shall be discharged (whether
before or after judgment). All computations of interest payable as provided in this Note shall be
based on the actual number of days elapsed divided by a year of 360 days, as the case may be. The
Lender shall make all computations (which computations shall, absent manifest error, be
conclusive and binding upon the Holder(s) and the Borrowers) of the interest accrued for any
period for which interest is then being determined and shall give notice of such computations to
the Borrower so as to permit payment of such interest.

        Each payment of principal, interest (other than PIK Interest), or other sums payable on or
in respect of this Note or the indebtedness evidenced hereby that is permitted to be paid in cash
hereunder shall be made by the Borrower directly to the Lender in United States Dollars, for the
account of the Holder(s) of this Note, at such account as shall be specified by such Holder, not


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later than 1:00 p.m., New York time, on the due date of such payment, and in immediately available
and freely transferable funds.

         All payments on or in respect of this Note or the indebtedness evidenced hereby shall be
made to the Lender for the account of the Holder(s) without set-off or counterclaim and free and
clear of and without any deduction of any kind for any taxes, levies, fees, deductions, withholdings,
restrictions or conditions of any nature. The Lender shall provide the Borrower with a duly
completed and properly executed IRS Form W-9 or applicable Form W-8 (together with any
applicable attachments) (i) on or prior to the date hereof, (ii) promptly upon any such form
previously provided becoming obsolete, incorrect or expired, and (iii) at such other times as may
be reasonably requested in writing by the Borrower.

         On and as of the date hereof, the Borrower hereby assigns to Lender, and hereby grants to
Lender a security interest in, all of the Borrower’s right, title and interest in and to the Collateral,
whether now or hereafter existing, whether tangible or intangible, whether now owned or hereafter
acquired and wherever the same may be located, to secure the Obligations. As of the Funding Date,
the Borrower, the Lender and [name of Bank] shall have entered into a control agreement with
respect to the sole deposit account of the Borrower (such control agreement, the “Control
Agreement”). The Borrower hereby agrees, at its own expense, to execute and deliver, from time
to time, any and all further, or other, security agreements, pledge agreements, control agreements,
mortgages or other instruments, and to perform such acts, as the Lender may reasonably request
to effect the transactions contemplated by this Note and the other Note Documents and to provide
to the Lender the benefits of all rights, authorities and remedies conferred upon the Lender by the
terms of this Note and the other Note Documents, and/or in order to perfect and protect any security
interest granted or purported to be granted hereby or to enable the Lender to exercise and enforce
its rights and remedies hereunder with respect to any Collateral. Without limiting the generality of
the foregoing, the Borrower hereby irrevocably (x) authorizes the Lender at any time and from
time to time to file in any filing office in any Uniform Commercial Code jurisdiction any initial
financing statements and amendments thereto that (a) indicate the Collateral (i) as ‘all assets of the
debtor’ or words of similar effect, regardless of whether any particular asset comprised in the
Collateral falls within the scope of Article 9 of the Uniform Commercial Code of the State of
Delaware or such jurisdiction, or (ii) as being of an equal or lesser scope or with greater detail and
(b) provide any other information required by the Uniform Commercial Code of any relevant State
or such other jurisdiction for the sufficiency or filing office acceptance of any financing statement
or amendment. The Borrower agrees to furnish any such information to the Lender promptly upon
the Lender’s request. This paragraph is referred to herein as the “Security Agreement”; provided,
that the “Security Agreement” shall also include any other security agreement entered into after
the date hereof by the Borrower and the Lender, and any amendment, restatement, replacement,
supplement or other modification to this Security Agreement and any such other security
agreement.

       All Obligations of the Borrower under this Note and the other Note Documents (including
the obligation to pay principal, interest, professional fees, costs, charges, commissions and
expenses) shall be paid as provided in this Note and the other Note Documents when due, without
defense, offset, reduction or counterclaim.



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        It is the intention of the Borrower and Lender to conform strictly to all applicable usury
laws now or hereafter in force, and any interest payable under this Note shall be subject to
reduction to the amount not in excess of the maximum legal amount allowed under the applicable
usury laws as now or hereafter construed by the courts having jurisdiction over such matters. If
the maturity of this Note is accelerated by reason of an election by Holders resulting from an Event
of Default or otherwise, then earned interest may never include more than the maximum amount
permitted by law, computed from the date of original issuance of this Note until payment, and any
interest in excess of the maximum amount permitted by law shall be canceled automatically and,
if theretofore paid, shall at the option of Holders either be rebated to the Borrower or credited on
the principal amount of this Note, or if this Note has been paid, then the excess shall be rebated to
the Borrower. The aggregate of all interest (whether designated as interest, service charges, points
or otherwise) contracted for, chargeable, or receivable under this Note shall under no
circumstances exceed the maximum legal rate upon the unpaid principal.

        For all purposes of this Note, the following terms shall have the respective meanings set
forth below:

       (a)    “Bankruptcy Cases” means cases under chapter 11 of the Bankruptcy Code
commenced by the Debtors on January 16, 2023 (the “Petition Date”) and jointly administered
under In re Performance Powersports Group Investor, LLC (Case No. 23-10047 (LSS)) in the
Bankruptcy Court.

        (b)     “Bankruptcy Code” means Title 11, United States Code, as now and hereafter in
effect, or any successor statute.

      (c)      “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware.

       (d)  “Business Day” means a day on which the Lender is open for business in New
York, New York.

         (e)     “Collateral” means all of the mixed and personal property of the Borrower
including the following, in each case whether now or hereafter existing, whether tangible or
intangible, whether now owned or hereafter acquired and wherever the same may be located (i) all
Accounts; (ii) all Chattel Paper; (iii) all Money and all Deposit Accounts, together with all amounts
on deposit from time to time in such Deposit Accounts; (iv) all Documents; (v) all General
Intangibles (including patents, trademarks, service marks, copyrights, and other intellectual
property), Payment Intangibles and Software; (vi) all Goods, including Inventory, Equipment,
Farm Products and Fixtures; (vii) all Instruments; (viii) all Investment Property; (ix) all Letter-of-
Credit Rights and other Supporting Obligations; (x) all Records; (xi) all Commercial Tort Claims;
(xii) all Litigation Trust Causes of Action (including any and all rights (including rights of set-off
and rights of recoupment), refunds, claims, counterclaims, demands, causes of action and rights to
collect damages with respect to the Litigation Trust Causes of Action); and (xiii) all Proceeds and
Accessions with respect to any of the foregoing Collateral. Each category of Collateral set forth
above shall have the meaning set forth in the Uniform Commercial Code of the State of Delaware,
it being the intention of the Borrower and the Lender that the description of the Collateral set forth
above be construed to include the broadest possible range of assets.

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       (f)    “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan, which order shall be in form and substance acceptable to the Lender in its sole discretion.

       (g)     “Debtors” means, collectively, Performance Powersports Group Investor, LLC and
each of debtor affiliates.

      (h)     “Final DIP Order” means the Final Order Pursuant to 11 U.S.C. §§ 105, 361, 362,
363, 364, 503, and 507 (I) Authorizing the Debtors to Obtain Senior and Junior Secured
Superpriority Postpetition Financing; (II) Granting Liens and Superpriority Administrative
Expense Claims; (III) Authorizing Use of Cash Collateral; (IV) Modifying the Automatic Stay; and
(V) Granting Related Relief, entered by the Bankruptcy Court on March 27, 2023 in the
Bankruptcy Cases [Docket No. 269].

         (i)    “Funding Conditions” means, collectively, (i) the Litigation Trust Agreement, in
form and substance acceptable to the Lender in its sole discretion, shall have been approved by
order of the Bankruptcy Court and executed and delivered by all parties thereto and shall be in full
force and effect, and no amendment, supplement or modification thereof shall have been entered
into without the written approval of the Lender in its sole discretion; (ii) the Bankruptcy Court
shall have entered the Confirmation Order approving the Plan, and such Confirmation Order shall
be in full force and effect and shall not have been vacated, reversed, modified amended or stayed
and not be subject to a pending appeal or motion or motion for leave to appeal or other proceeding
to set aside such order or to challenge the relief provided for in such order; (iii) the “effective date”
of the Plan (as defined in the Plan) shall have occurred or shall occur concurrently with the Funding
Date; (iv) the Lender shall have received reasonably satisfactory evidence of perfection of liens
(including any UCC financing statement) in favor of the Lender on the Collateral; (v) the
representations and warranties contained herein shall be true and correct in all material respects as
of the Funding Date (without duplication of any materiality qualifier contained therein); and
(vi) no Event of Default shall have occurred and be continuing.

         (j)    “Holder” means, at any time of determination, the Lender or any other person who
is at such time a lawful holder in possession of all or any portion of this Note, solely in its capacity
as a holder of Obligations, and not in any other capacity, together with any agent or other
representative of such Holder.

        (k)     “Lien” means any lien, mortgage, pledge, assignment, security interest, charge or
encumbrance of any kind (including any conditional sale or other title retention agreement, any
lease in the nature thereof, and any agreement to give any security interest), and asserted right of
set off or offset and any option, trust or other preferential arrangement having the practical effect
of any of the foregoing.

        (l)     “Litigation Trust Causes of Action” means, collectively, those claims and causes
of actions assigned to the Borrower in accordance with the Litigation Trust Agreement.

       (m)    “Note Documents” means, collectively, (i) this Note, (ii) the Litigation Trust
Agreement, (iii) the Control Agreement and (iv) each other related agreement, certificate,
document, or instrument executed and delivered by Borrower or any of its subsidiaries in
connection with the foregoing, as each such other related agreement, document or instrument may

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be amended, restated, replaced, supplemented or otherwise modified from time to time in
accordance with its terms.

       (n)     “Notes” means this Note and the other notes of like tenor made by the Borrower
concurrently with the making of this Note, and any notes in substantially the same form issued in
replacement of the amounts of such Notes, whether issued to the Lender or such Lenders’
successors or permitted assigns.

       (o)      “Person” means and includes natural persons, corporations, limited partnerships,
general partnerships, limited liability companies, limited liability partnerships, joint stock
companies, joint ventures, associations, companies, trusts, banks, trust companies, land trusts,
business trusts or other organizations, whether or not legal entities, and government authorities.

       (p)     “Plan” means the Debtors’ plan pursuant to chapter 11 of the Bankruptcy Code,
which plan shall be in form and substance acceptable to the Lender in its sole discretion.

         The Borrower will have the right to prepay without premium or penalty at any time the
unpaid principal of this Note in full or in part. Any payment of the indebtedness evidenced by this
Note (including but not limited to any payment from Litigation Trust Proceeds) shall be applied
by the Holder hereof (a) first, to the payment of all accrued and unpaid interest on the unpaid
principal of this Note at the time of such partial payment, (b) then, to the payment of all (if any)
other amounts (except principal) due and payable at the time of such partial payment on or in
respect of this Note or the indebtedness evidenced by this Note and (c) finally, to the repayment
or (as the case may be) the prepayment of the unpaid principal of the Loan. All payments made by
the Borrower with respect to the Notes shall be made ratably among the Holders (based on the
respective outstanding loan amounts prior to giving effect to such payments). If the Holder shall
obtain on account of the Loan any payment (whether voluntary, involuntary, through the exercise
of any right of setoff, any remedy against Collateral or otherwise) in excess of its ratable share of
payments made by the Borrower on account of the loans evidenced by this Note and the other
Notes, such Lender shall immediately notify the Borrower of such fact, and, the Borrower shall
make such other payments as shall be necessary under the Litigation Trust Agreement.

        Within three (3) Business Days after the Borrower’s receipt of any proceeds of Litigation
Trust Causes of Action and other proceeds of liquidating its assets (the “Litigation Trust
Proceeds”), the Borrower shall prepay the then outstanding Loan, together with accrued and
unpaid interest thereon, in an amount equal to up to 100% of such Litigation Trust Proceeds to the
Lender’s Account; provided that, subject to the terms of the Litigation Trust Agreement, the
Borrower shall not make any distributions to the beneficiaries of the Borrower nor make any other
payment to such beneficiaries unless and until the entire amount of the Loan has been paid in full
in accordance with the terms hereof, except that it is hereby understood and agreed that Borrower
shall have the right to reduce the amount of Litigation Trust Proceeds to be prepaid for any
reasonable, out-of-pocket costs, fees, or expenses incurred by the Borrower to administer the
Borrower in accordance with the Litigation Trust Agreement, including, without limitation, (i) the
reasonable, documented, out-of-pocket fees and expenses incurred by advisors or professionals
retained by the Litigation Trustee, (ii) the actual, reasonable, and documented out-of-pocket
expenses incurred by the Litigation Trustee in connection with the performance of the duties of
the Litigation Trustee under the Litigation Trust Agreement or under the Confirmation Order or

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the Plan, including, but not limited to, actual, reasonable, and documented fees and disbursements
of the Litigation Trustee’s legal counsel incurred in connection with the review, execution, and
delivery of the Litigation Trust Agreement and related documents, and (iii) any costs incurred by
the Borrower as a result of the bankruptcy case of Performance Powersports Group Investor, LLC
remaining open after the other Bankruptcy Cases are closed (collectively, the “Litigation Trust
Fees and Expenses”).

        If any sum would, but for the provisions of this paragraph, become due and payable on or
in respect of this Note or the indebtedness evidenced hereby on a day which is not a Business Day,
then such sum shall become due and payable on the Business Day next succeeding the day on
which such sum would otherwise have become due and payable hereunder, and interest payable
hereunder to the Holder hereof shall be adjusted by the Holder hereof accordingly.

        The Borrower represents and warrants to the Lender and each Holder on the date hereof
and on the date of the making of the Loan that: (a) the Borrower is a trust duly organized, validly
existing and in good standing under the laws of the State of Delaware; (b) such Borrower has all
requisite power and authority and full legal right to carry on the business in which it is presently
engaged and will be engaged upon consummation of the transactions contemplated hereby; (c) all
necessary action has been taken by the Borrower to execute and deliver this Note and the other
Note Documents to which it is a party and to make the borrowings hereunder; (d) the execution,
delivery, and performance by the Borrower of this Note and any Note Documents and the
consummation of the transactions contemplated by this Note and any Note Documents do not and
will not (i) violate any provision of any law or any governmental rule or regulation applicable to
the Borrower, the organizational documents of the Borrower, or any order, judgment, decree, or
order of any court or other government authority binding on the Borrower, (ii) conflict with, result
in a breach of, or constitute a default under any contractual obligation of the Borrower, (iii) result
in or require the creation or imposition of any lien upon any of the properties or assets of the
Borrower (other than any liens created on the Collateral under this Note in favor of the Lender),
or (iv) require any approval of the beneficiaries of the trust or any approval or consent of any
Person under any contractual obligation of the Borrower any authorization or from any government
authority, (e) this Note has been duly executed and delivered by the Borrower and is the legally
valid and binding obligation of the Borrower, enforceable against the Borrower in accordance with
its terms, except as may be limited by bankruptcy, insolvency, reorganization, moratorium, or
similar laws relating to or limiting creditors’ rights generally or by equitable principles relating to
enforceability (whether considered in a proceeding at law or equity), (f) the provisions of the Note
Documents are effective to create in favor of the Lender a legal, valid and enforceable security
interest in all right, title and interest of such Borrower in the Collateral described therein, and
(g) no authorization, approval, or other action by, and no notice to or filing with, any government
authority is required for either (i) the pledge or grant by the Borrower of the liens purported to be
created in favor of the Lender under the Security Agreement or (ii) the exercise by Lender of any
rights or remedies in respect of any Collateral (whether specifically granted or created pursuant to
this Note or created or provided for by applicable law), except for filings or recordings
contemplated herein and except as may be required, in connection with the disposition of any
Collateral constituting securities, by laws generally affecting the offering and sale of such
securities.



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        The Borrower covenants that it will conduct its activities and administer its assets strictly
in accordance with and as permitted by the Litigation Trust Agreement dated as of [●], 2023, by
and among the Debtors, CPS USA Acquisition, LLC, and Peter Kravitz, solely in his representative
capacity as trustee of the Litigation Trust (the “Litigation Trustee”), and one (1) member selected
by Vietnam New Century Industrial Co., Ltd., Jillian Lin of Dundon Advisors, and one (1)
independent member selected by Buyer, as members of the oversight committee governing the
Litigation Trust (as amended, amended and restated, supplemented or otherwise modified, in
accordance with its terms, the “Litigation Trust Agreement”). The Borrower shall not, and shall
not permit any Person to, amend, restate, supplement, or otherwise modify the Litigation Trust
Agreement other than in accordance with its terms.

         If any of the following conditions or events (each, an “Event of Default”) shall occur:

                (I)      Failure by the Borrower to pay any required payment or prepayment of
         principal of or interest on the Loan, or any other amount due under this Note or the other
         Note Documents, in each case when due, whether at stated maturity, by acceleration or
         otherwise (a “Payment Default”); or

                (II)   The Borrower shall default in the performance of or compliance with any
         covenant of Borrower contained in this Note, the Litigation Trust Agreement, or any of the
         other Note Documents, and such default shall not be cured by Borrower or waived by
         Lender within fifteen (15) days; or

                 (III) Any representation, warranty, or certification made by the Borrower in this
         Note or in any statement or certificate at any time given by the Borrower in writing pursuant
         hereto or thereto or in connection herewith or therewith shall be false in any material
         respect on the date as of which made; or

                (IV) Any order, judgment, or decree shall be entered against the Borrower
         decreeing the dissolution or split up of the Borrower and such order shall remain
         undischarged or unstayed for a period in excess of 30 days; or

                  (V)    At any time after the execution and delivery thereof, (i) the grants of
         Collateral made in the Security Agreement shall, at any time, cease to be in full force and
         effect (other than by reason of a release of Collateral in accordance with the terms thereof
         or the payment in full of the Obligations and the termination of the Note) or shall be
         declared null and void, or the validity or enforceability thereof shall be contested by the
         Borrower, (ii) any Note Document shall cease to be in full force and effect (other than by
         reason of a release of Collateral thereunder in accordance with the terms hereof or thereof,
         the payment in full of the Obligations and the termination of the Note or any other
         termination of such Note Document in accordance with the terms hereof or thereof) or shall
         be declared null and void, or the Lender shall not have or shall cease to have a valid Lien
         in any Collateral purported to be covered thereby, in each case for any reason other than
         the failure of the Lender to take any action within its control, or (iii) the Borrower shall
         contest the validity or enforceability of any Note Document in writing or deny in writing
         that it has any further liability, including with respect to future advances by the Lender,
         under any Note Document; or

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                (VI) The Litigation Trustee shall cease at any time to be (x) Peter Kravitz or
         (y) another Person appointed with the prior approval of Kinderhook in accordance with the
         terms of the Litigation Trust Agreement; or

                 (VII) The Borrower shall use the proceeds of the Loan to prosecute any Released
         Claim (as defined in the Final DIP Order) or for any purpose other than to finance the
         Litigation Trust Fees and Expenses;

THEN, upon the occurrence and during the continuation of any Event of Default, the Holder may,
upon written notice (which may be delivered by facsimile or overnight courier) to the Borrower
(which shall require three (3) Business Days’ notice for any Event of Default other than a Payment
Default), (i) declare (a) this Note to be terminated, and/or (b) all or any portion of (1) the unpaid
principal amount of the Loan and (2) all other Obligations to be immediately due and payable,
without presentment, demand, protest or other requirements of any kind, all of which are hereby
expressly waived by the Borrower. If any Event of Default shall have occurred and be continuing,
then the Holder may also exercise in respect of the Collateral, in addition to all other rights and
remedies provided for herein or otherwise available to it, all the rights and remedies of a secured
party on default under the Uniform Commercial Code (whether or not the Uniform Commercial
Code applies to the affected Collateral).

        The enumeration of the foregoing rights and remedies is not intended to be exhaustive and
the exercise of any right or remedy shall not preclude the exercise of any other rights or remedies,
all of which shall be cumulative and not alternative.

       The Borrower waives (i) presentment, demand and protest and notice of presentment,
dishonor, notice of intent to accelerate, notice of acceleration, protest, default, nonpayment,
maturity, release, compromise, settlement, extension or renewal of any or all commercial paper,
accounts, contract rights, documents, instruments, chattel paper and guaranties or other
property at any time held by the Lender on which the Borrower may in any way be liable and
hereby ratify and confirm whatever the Lender may lawfully do in this regard, (ii) subject to the
notice provisions of the preceding paragraph, all rights to notice and hearing prior to the
Lender’s taking possession or control of, or to the Lender’s replevin, attachment or levy upon,
the Collateral, or any bond or security which might be required by any court prior to allowing
the Lender to exercise any of its remedies, and (iii) the benefit of all valuation, appraisal and
exemption laws. The Borrower acknowledges it has been advised by counsel of its choice with
respect to the effect of the foregoing waivers and this Note, the other Note Documents and the
transactions evidenced by this Note and the other Note Documents.

       The Borrower absolutely and unconditionally agrees to reimburse the Lender and any
Holder of all or any portion of this Note, on demand, whether or not all or any of the transactions
contemplated by the Note are ultimately consummated, for all out-of-pocket expenses incurred in
connection with this Note, the other Note Documents, the Loan and the transactions contemplated
hereby and thereby, including but not limited to (a) the reasonable attorney’s fees and
disbursements of the Lender’s counsel and disbursements, incurred or expended in connection
with the preparation, negotiation and interpretation of the Note Documents and the making of the
Loan hereunder and (b) all reasonable attorney’s fees and disbursements and the reasonable fees
and disbursements of other professionals relating to the enforcement of any obligations under and

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of the Note Documents or the satisfaction of any indebtedness of the Borrower hereunder. In
addition to the foregoing, the Borrower hereby absolutely and unconditionally agrees to defend
(subject to Indemnitees’ selection of counsel), indemnify, pay and hold harmless the Lender and
each Holder and their respective officers, directors, employees, agents, advisors, attorneys and
affiliates (collectively, the “Indemnitees”), from and against any and all Indemnified Liabilities
(as hereinafter defined); provided that the Borrower shall not have any obligation to any
Indemnitee hereunder with respect to any Indemnified Liabilities to the extent such Indemnified
Liabilities arise solely from the gross negligence or willful misconduct of that Indemnitee as
determined by a final and non-appealable judgment of a court of competent jurisdiction. As used
herein, “Indemnified Liabilities” means, collectively, any and all liabilities, obligations, losses,
damages (including natural resource damages), penalties, actions, judgments, suits, claims, costs
(including the costs of any investigation, study, sampling, testing, abatement, cleanup, removal,
remediation or other response action necessary to remove, remediate, clean up or abate any
hazardous materials activity), expenses and disbursements of any kind or nature whatsoever
(including the reasonable fees and disbursements of counsel for Indemnitees in connection with
any investigative, administrative or judicial proceeding commenced or threatened by any Person,
whether or not any such Indemnitee shall be designated as a party or a potential party thereto, and
any reasonable fees or expenses incurred by Indemnitees in enforcing this indemnity), whether
direct, indirect or consequential and whether based on any federal, state or foreign laws, statutes,
rules or regulations (including securities and commercial laws, statutes, rules or regulations and
environmental laws), on common law or equitable cause or on contract or otherwise, that may be
imposed on, incurred by, or asserted against any such Indemnitee, in any manner relating to or
arising out of (i) this Note or the other Note Documents or the transactions contemplated hereby
or thereby (including the use or intended use of the proceeds of the Loan), or any enforcement of
any of the Note Documents (including any sale of, collection from, or other realization upon any
of the Collateral), or (ii) any environmental claim or any hazardous materials activity relating to
or arising from, directly or indirectly, any past or present activity, operation, land ownership, or
practice of Borrower and its subsidiaries. To the extent that the undertakings to defend, indemnify,
pay and hold harmless set forth in this paragraph may be unenforceable in whole or in part because
they are violative of any law or public policy, the Borrower shall contribute the maximum portion
that it is permitted to pay and satisfy under applicable law to the payment and satisfaction of all
Indemnified Liabilities incurred by Indemnitees or any of them. Notwithstanding anything in this
Note to the contrary, the agreements in this paragraph shall survive the termination of this Note
and the repayment, satisfaction or discharge of all the other Obligations. All amounts due under
this paragraph shall be payable on written demand by the Lender or the applicable Holder therefor.
Any such amounts not paid when due shall, if due prior to the maturity of the Loan, be charged to
the Borrower and shall thereafter constitute an additional portion of the Loan hereunder and shall
accrue interest at the rate then applicable to the Loan hereunder.

       No delay or omission on the part of the Lender or any Holder hereof in exercising any right
hereunder shall operate as a waiver of such right or of any other rights of the Lender or such
Holder, nor shall any delay, omission or waiver on any one occasion be deemed a bar or waiver of
the same or any other right on any further occasion.

       Except as otherwise expressly provided in this Note, all notices and other communications
made or required to be given pursuant to this Note or the other Note Documents shall be in writing
and shall be delivered in hand, mailed by United States registered or certified first class mail,

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postage prepaid, sent by overnight courier, or sent by telegraph, telecopy, facsimile or telex and
confirmed by delivery via courier or postal service, addressed to such party at the notice address
beneath its signature hereto or at such other address for notice as such party shall last have
furnished in writing to the Person giving the notice.

         This Note shall be binding upon and inure to the benefit of and be enforceable by the
respective successors and assigns of the Lender and the Borrower, provided that the Borrower may
not assign or transfer any of its obligations hereunder without the prior written consent of each
Holder. Any Holder may at any time grant participations in all or a portion of its interest in the
outstanding Loan, its rights hereunder or under the Note Documents to one or more financial
institutions. In addition, subject to the Litigation Trust Agreement, any Holder may assign all or a
portion of its interest in the outstanding Loan, its rights hereunder or under the Note Documents
to one or more financial institutions. For the avoidance of any doubt, each Holder of this Note
assumes and agrees to be bound by the Litigation Trust Agreement. Notwithstanding the
foregoing, no such assignment or participation of the Loan shall be permitted to any Person (other
than (x) an affiliate of the Holder who is not the Borrower, or (y) a holder (or its affiliate) of equity
interests of the Borrower, who is not the Borrower) unless an Event of Default has occurred and
is continuing at the time of such assignment or participation.

        Neither this Note, the other Note Documents nor any provision hereof or thereof may be
amended, supplemented, waived or otherwise modified except pursuant to an agreement or
agreements in writing entered into by the Borrower, the Holders and the other parties required by
the Litigation Trust Agreement. No waiver of any provision of this Note or the Note Documents
or consent to any departure by the Borrower herefrom or therefrom shall in any event be effective
unless the same shall be permitted by the preceding sentence and the Litigation Trust Agreement,
and then such waiver or consent shall be effective only in the specific instance and for the purpose
for which given.

        The Borrower hereby waives presentment, demand, notice, protest and all other demands
and notices in connection with the delivery, acceptance, performance, default or enforcement of
this Note, and assent to any extension or postponement of the time of payment or any other
indulgence, to any substitution, exchange or release of collateral and to the addition or release of
any other party or person primarily or secondarily liable. The Borrower hereby waives all
suretyship defenses generally. No provision of this Note or the other Note Documents shall impair
the obligations of the Borrower, which are absolute and unconditional, to pay the principal of and
interest on this Note at the place, at the respective times, and in the currency herein prescribed.

     ALL JUDICIAL PROCEEDINGS BROUGHT AGAINST THE BORROWER
ARISING OUT OF OR RELATING TO THIS NOTE OR ANY OTHER NOTE
DOCUMENT, OR ANY OBLIGATIONS HEREUNDER OR THEREUNDER, SHALL BE
BROUGHT IN ANY STATE OR FEDERAL COURT OF COMPETENT JURISDICTION
IN THE COURTS OF THE STATE OF DELAWARE; PROVIDED, THAT FOR THE
DURATION OF THE BANKRUPTCY CASES, THE BORROWER SUBMITS TO THE
EXCLUSIVE JURISDICTION AND VENUE OF THE BANKRUPTCY COURT EXCEPT
TO THE EXTENT THAT THE BANKRUPTCY COURT DOES NOT HAVE OR DOES
NOT EXERCISE JURISDICTION. BY EXECUTING AND DELIVERING THIS NOTE,
THE BORROWER, FOR ITSELF AND IN CONNECTION WITH ITS PROPERTIES,

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IRREVOCABLY (I) ACCEPTS GENERALLY AND UNCONDITIONALLY THE
NONEXCLUSIVE JURISDICTION AND VENUE OF SUCH COURTS; (II) WAIVES
ANY DEFENSE OF FORUM NON CONVENIENS; (III) AGREES THAT SERVICE OF
ALL PROCESS IN ANY SUCH PROCEEDING IN ANY SUCH COURT MAY BE MADE
BY REGISTERED OR CERTIFIED MAIL, RETURN RECEIPT REQUESTED, TO THE
BORROWER AT ITS ADDRESS PROVIDED IN ACCORDANCE WITH THE TERMS
OF THIS NOTE; (IV) AGREES THAT, SERVICE AS PROVIDED IN CLAUSE (III)
ABOVE IS SUFFICIENT TO CONFER PERSONAL JURISDICTION OVER THE
BORROWER, AS THE CASE MAY BE, IN ANY SUCH PROCEEDING IN ANY SUCH
COURT, AND OTHERWISE CONSTITUTES EFFECTIVE AND BINDING SERVICE IN
EVERY RESPECT; (V) AGREES THAT THE LENDER RETAINS THE RIGHT TO
SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY LAW OR TO BRING
PROCEEDINGS AGAINST THE BORROWER IN THE COURTS OF ANY OTHER
JURISDICTION; AND (VI) AGREES THAT THE PROVISIONS OF THIS PARAGRAPH
RELATING TO JURISDICTION AND VENUE SHALL BE BINDING AND
ENFORCEABLE TO THE FULLEST EXTENT PERMISSIBLE UNDER DELAWARE
LAW OR OTHERWISE.

        EACH OF THE PARTIES TO THIS NOTE AND THE OTHER NOTE DOCUMENTS
HEREBY AGREES TO WAIVE ITS RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY
CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT OF THIS NOTE OR ANY
OF THE OTHER NOTE DOCUMENTS OR ANY DEALINGS BETWEEN THEM RELATING
TO THE SUBJECT MATTER OF THIS LOAN TRANSACTION OR THE
LENDER/BORROWER RELATIONSHIP THAT IS BEING ESTABLISHED. The scope of this
waiver is intended to be all-encompassing of any and all disputes that may be filed in any court
and that relate to the subject matter of this transaction, including contract claims, tort claims,
breach of duty claims and all other common law and statutory claims. Each party hereto
acknowledges that this waiver is a material inducement to enter into a business relationship, that
each has already relied on this waiver in entering into this Note and the other Note Documents,
and that each will continue to rely on this waiver in their related future dealings. Each party hereto
further warrants and represents that it has reviewed this waiver with its legal counsel and that it
knowingly and voluntarily waives its jury trial rights following consultation with legal counsel.
THIS WAIVER IS IRREVOCABLE, MEANING THAT IT MAY NOT BE MODIFIED EITHER
ORALLY OR IN WRITING (OTHER THAN BY A MUTUAL WRITTEN WAIVER
SPECIFICALLY REFERRING TO THIS PARAGRAPH AND EXECUTED BY EACH OF THE
PARTIES HERETO), AND THIS WAIVER SHALL APPLY TO ANY SUBSEQUENT
AMENDMENTS, RENEWALS, SUPPLEMENTS OR MODIFICATIONS TO THIS NOTE OR
ANY OF THE OTHER NOTE DOCUMENTS OR TO ANY OTHER DOCUMENTS OR
AGREEMENTS RELATING TO THE LOAN MADE HEREUNDER. In the event of litigation,
this Note may be filed as a written consent to a trial by the court.

     THIS NOTE, THE OTHER NOTE DOCUMENTS AND THE RIGHTS AND
OBLIGATIONS OF THE PARTIES HEREUNDER AND THEREUNDER SHALL FOR
ALL PURPOSES BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH
THE INTERNAL LAWS OF THE STATE OF DELAWARE, WITHOUT REGARD TO
CONFLICTS OF LAWS PRINCIPLES THAT WOULD REQUIRE APPLICATION OF
ANOTHER LAW.

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       This Note shall become effective on the first date on which Borrower and the Lender shall
have executed and delivered a counterpart of this Note to the Lender.

        The Borrower shall treat this Note as indebtedness for all income tax purposes, and will
not take any position inconsistent therewith. By its acceptance of this Note, the Lender agrees (for
itself and its affiliates, successors and permitted assigns), that it shall treat this Note as
indebtedness for all income tax purposes.

       The Borrower will maintain a register in which it will record the initial ownership of this
Note and any changes in ownership of this Note. The entries in the register shall be conclusive
absent manifest error, and the Borrower and the Lender or other holders shall treat each person
whose name is recorded in the register pursuant to the terms hereof as a holder hereunder for all
purposes of this Note. No transfer shall be effective unless recorded in the register. This paragraph
shall be construed so that the Note is at all times maintained in “registered form” within the
meaning of Sections 163(f), 871(h)(2) and 881(c)(2) of the Internal Revenue Code of 1986, as
amended.

                         [Remainder of this page intentionally left blank]




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       IN WITNESS WHEREOF, each of the undersigned has caused this Note to be duly
executed and duly delivered by its duly authorized officer as of the day and year first above written.


                                         PPG LITIGATION TRUST,
                                         as Borrower


                                          By:__________________________________
                                          Name:
                                          Title:


                                          Notice Address:
                                          Attention:
                                          Email:



STATE OF ______________________

COUNTY OF ____________________

I, _________________________________, a Notary Public of the County and State aforesaid,
certify that __________________________ personally came before me this day and
acknowledged that (s)he is ______________ trustee of PPG Litigation Trust, a Delaware trust (the
“Trust”), and that (s)he, as ______________ trustee being authorized to do so, executed the
foregoing on behalf of the Trust.

WITNESS my hand and official stamp or seal, this the ____ day of ______________, 2023.

[SEAL]                                                 __________________________________

Notary Public

My Commission expires: _______________________




                              [Signature page to Secured Promissory Note]
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Accepted and agreed:

CPS USA ACQUISITION, LLC,
as Lender


By:__________________________________
Name:
Title:

Notice Address:

CPS USA Acquisition, LLC
c/o Kinderhook Industries, LLC
505 Fifth Avenue, 25th Floor
New York, NY 10017
Attention: Chris Michalik; Paul Cifelli
Email: cmichalik@kinderhook.com; pcifelli@kinderhook.com

With a copy to:
Kirkland & Ellis, LLP
601 Lexington Avenue
New York, NY 10022
Attention: Brian Schartz, P.C.; Shawn OHargan,
P.C.; Allyson B. Smith
Email: brian.schartz@kirkland.com;
shawn.ohargan@kirkland.com; allyson.smith@kirkland.com




                          [Signature page to Secured Promissory Note]
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                                  Exhibit E
                        Form of Plan Administrator Agreement




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                          PLAN ADMINISTRATOR AGREEMENT

       THIS AGREEMENT is made this ___ day of ___, 2023, by and between Peter Kravitz, as
Plan Administrator and Performance Powersports Group Investor, LLC, Performance Powersports
Group Holdings, Inc., Performance Powersports Group Purchaser, Inc., and Performance
Powersports Group, Inc. (collectively, the “Debtors”), pursuant to the Debtors’ Amended Joint
Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 385] (as may be
modified, amended, or supplemented from time to time, the “Plan”), which has been confirmed
by the Bankruptcy Court. Capitalized terms not otherwise defined herein shall have the meaning
ascribed in the Plan.
                                          RECITALS

      WHEREAS, on January 16, 2023, voluntary petitions under Chapter 11 of the Bankruptcy
Code were filed by the Debtors in the Bankruptcy Court; and

       WHEREAS, the Plan was confirmed by the Bankruptcy Court by Order entered [●], 2023
at Docket No. [●]; and

       WHEREAS, the Plan provides that certain of the rights and powers of the Debtors under
the Plan shall be exercised by a plan administrator in its capacity as the representative of the
Debtors (in its capacity as such, the “Plan Administrator”); and

       WHEREAS, under Article IV F. of the Plan, the Plan Administrator shall have the
responsibilities and duties as set forth in the Plan and this Agreement;

        NOW, THEREFORE, in consideration of the foregoing and the covenants and agreements
set forth herein, the parties hereto agree as follows:

                                ARTICLE I
               PLAN ADMINISTRATOR’S ACCEPTANCE OF POSITION

        1.1    Acceptance. Peter Kravitz accepts employment as the Plan Administrator and
agrees to observe and perform all duties and obligations assigned to it by this Agreement.

        1.2      Independent Contractor. The parties agree that during the term of this Agreement,
the Plan Administrator shall be an independent contractor, and not an employee of the Debtors,
within the meaning of all federal, state and local laws and regulations governing employment
insurance, workers’ compensation, industrial accident, labor and taxes. In addition, the Plan
Administrator shall not, by reason of this Agreement, acquire any rights under any benefit plan
operated by the Debtors or its affiliates for the benefit of their employees, including, without
limitation, (a) any pension or profit-sharing plans or (b) any “employee welfare plans” (as defined
in Section 3 of the Employee Retirement Income Security Act of 1974, as amended.)

        1.3    Part-Time Position. The parties anticipate that the Plan Administrator will be able
to fulfill her obligations under this Agreement by devoting a portion of each work-day or
work-week to performing the services set forth herein. Accordingly, the Plan Administrator is
being retained only on a part-time basis. The parties agree that the Plan Administrator may accept
employment elsewhere during the period in which the Plan Administrator is performing services


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pursuant to this Agreement. The Parties acknowledge that the Plan Administrator shall also serve
as the Disbursing Agent under the Plan.

                               ARTICLE II
              GENERAL OBLIGATIONS OF THE PLAN ADMINISTRATOR

        2.1     Establish Accounts. On the Effective Date or as soon thereafter as practicable, the
Plan Administrator shall establish one or more accounts into which shall be deposited all funds for
which it is responsible under this Agreement and the Plan and which are not required or permitted
to be deposited into any other account, reserve or escrow.

       2.2     Distributions. Subject to Article 2.3 of the Agreement, the Plan Administrator shall
make distributions on account of and to pay those Allowed Claims for which the Debtors are
responsible for payment in accordance with and subject to the conditions set forth in the Plan.

       2.3    Reserves. The Plan Administrator shall establish and maintain appropriate reserves
in accordance with the Plan with respect to those Claims and expenses for which it is responsible.

        2.4    Investments. Pursuant to the Plan, all Cash held by the Debtors, the Plan
Administrator or any Disbursing Agent, as the case may be, shall be invested in accordance with
section 345 of the Bankruptcy Code or as otherwise permitted by a Final Order of the Bankruptcy
Court.

        2.5     Liquidation of Assets. In accordance with the Plan, the Plan Administrator shall,
in the name of Debtors, liquidate or otherwise dispose of those of Debtors’ assets for which it is
responsible under the Plan in a manner reasonably calculated to maximize value for distribution
to holders of those Allowed Claims for which it acts as Disbursing Agent.

       2.6    Books and Records. Until the termination of its responsibilities under this
Agreement or further order of the Bankruptcy Court, the Plan Administrator shall maintain
appropriate books and records in accordance with the requirements of Plan.

        2.7    No Other Duties. Other than the obligations of the Plan Administrator enumerated
above or under the Plan, the Plan Administrator shall have no duties or obligations of any kind or
nature respecting implementation of the Plan or this Agreement.

                                ARTICLE III
                POWERS AND RIGHTS OF THE PLAN ADMINISTRATOR

        3.1     General. The Plan Administrator shall have all powers and rights enumerated
below or in the Plan, including, without limitation, those rights and powers enumerated in Article
IV F. of the Plan, with respect to the Assets and with respect to Claims, and shall be a representative
of the Estates within the meaning of 11 U.S.C. § 1123 for all such purposes. The enumeration of
the powers listed in Article IV F. of the Plan shall not be considered in any way to limit or control
the power of the Plan Administrator to act as specifically authorized by any other section or
provision of this Agreement, the Plan or Bankruptcy Court order.




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        3.2    Employees and Agents. The Plan Administrator is empowered: (a) to elect,
appoint, engage, retain and employ on a full time or part time basis any Persons as agents,
representatives, employees, or independent contractors on behalf of the Debtors and their Estates
in one or more capacities as is reasonably necessary to enable the Plan Administrator to implement
this Agreement and the Plan; (b) subject to the Plan, to pay fees to and to reimburse the expenses
of those employees, agents or independent contractors elected, appointed, engaged, retained or
employed by the Plan Administrator; (c) to indemnify the Plan Administrator and its agents,
professionals and employees in accordance with this Agreement from any loss (including
reasonable attorneys’ fees) incurred in connection with the implementation of the Plan other than
a loss due to the indemnified party’s willful misconduct, gross negligence or fraud; and (d) to
prescribe the titles, powers and duties, terms of service and other terms and conditions of the
election, appointment, engagement, retention, or employment of such Persons.

        3.3     Insurance. The Plan Administrator is hereby authorized to obtain all reasonably
necessary insurance coverage for itself, its agents, representatives, employees, or independent
contractors, the Estates and the Debtors, including, but not limited to, coverage with respect to (i)
any property that is or may in the future become an asset and (ii) the liabilities, duties, and
obligations of the Plan Administrator and its agents, representatives, employees or independent
contractors under the Plan and this Agreement, with the cost of such insurance being paid solely
from the proceeds of the Estates and shall not be required to post a bond with respect to assets held
under this Agreement and the Plan.

        3.4    Protection of Assets. The Plan Administrator is hereby authorized to do and to
perform any and all acts necessary or appropriate for the conservation and protection of the Assets
of the Debtors and the Estate, including acts or things necessary or appropriate to maintain assets
held pending sale or other disposition or distribution thereof.

       3.5     Authority to Prosecute Actions. The Plan Administrator shall be empowered as the
representative of the Estates, but shall have no obligation, to prosecute, in the name of the Debtors,
the Estates or the Plan Administrator, or otherwise, all such actions and objections, as may be
necessary, appropriate or incident to implementing the Plan or this Agreement.

       3.6    Additional Powers. The Plan Administrator shall be empowered to do all other acts
and things not inconsistent with the provisions of the Plan or this Agreement that the Plan
Administrator deems reasonably necessary or desirable with respect to implementing the Plan and
this Agreement.

                                       ARTICLE IV
                                THE PLAN ADMINISTRATOR

       4.1    Resignation, Death or Removal. The Plan Administrator may resign, or may be
removed for cause upon motion to and order of the Bankruptcy Court. The Bankruptcy Court may
appoint any successor Plan Administrator.

       4.2      Continuity. Unless otherwise ordered by the Bankruptcy Court, the death,
resignation, incompetence or removal of the Plan Administrator shall not operate to terminate or
remove any existing agency created pursuant to the terms of this Agreement or invalidate any



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action theretofore taken by either of the Plan Administrator. In the event of the resignation or
removal of the Plan Administrator, that Plan Administrator shall promptly execute and deliver
such documents, instruments and other writings as may be required by the Bankruptcy Court or
reasonably requested by the successor Plan Administrator.

        4.3     Compensation. The Plan Administrator and any employes retained shall be entitled
to receive the compensation in the amount of a blended rate of $600 per hour and shall be entitled
to reimbursement of reasonable out-of-pocket expenses incurred in connection with performing its
duties hereunder, on a weekly basis. Upon the request of the Plan Administrator, the Bankruptcy
Court, after notice and hearing, may, on a prospective basis, alter the amount, terms or
consideration of the Plan Administrator’s compensation.

        4.4    Standard of Care, Indemnification and Exculpation. The Plan Administrator, its
professionals and its employees shall not be personally liable to the Debtors or to the Holder of
any Claim or Interest or to any other person except for such of its or their own acts as shall
constitute willful misconduct, gross negligence or fraud. Except for the aforesaid, the Plan
Administrator is exonerated, held harmless and indemnified (and may (but neither is required to)
maintain insurance for the purposes of such indemnification), in accordance with the Plan.
Notwithstanding the foregoing, the Plan Administrator and its agents, professionals and employees
shall have recourse with respect to any claims for indemnification solely against the Debtors’
Assets and the proceeds thereof, and any insurance purchased with the proceeds of any of the
Debtors’ Assets.

        4.5      Reliance by the Plan Administrator. The Plan Administrator may conclusively rely,
and shall be fully protected in acting upon, any statement, instrument, opinion, report, notice,
request, consent, order or other instrument or document which it believes to be genuine and to
have been signed or presented by the proper party or parties. The Plan Administrator may also
conclusively rely on information provided to it by agents and employees of the Debtors. The Plan
Administrator may consult with legal counsel and shall be fully protected from any liability except
as set forth in Article 4.4 above in respect of any action taken or suffered in accordance with the
opinion of legal counsel. The Plan Administrator shall have the right at any time to seek
instructions from the Court concerning the acquisition, management or disposition of the assets
for which it is responsible.

        4.6     Reliance by Persons Dealing with the Plan Administrator. In the absence of actual
knowledge to the contrary, any Person dealing with the Debtors and their Estates shall be entitled
to rely on the authority of the Plan Administrator to act on behalf of the Debtors, and shall have
no obligation to inquire into the existence of such authority.

       4.7     Duty of Care. The Plan Administrator shall act for the Estates in a fiduciary
capacity as applicable to a board of directors/board of managers, subject to the provisions hereof.

                                           ARTICLE V
                                          TERMINATION

        5.1      Subject to further order of the Bankruptcy Court, this Agreement shall terminate on
the earlier of (i) thirty (30) days after: (a) the Final Distribution or (b) the date the order granting



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the final decree in these Chapter 11 Cases becomes a Final Order, whichever is later, and (ii) as
otherwise ordered by the Bankruptcy Court.

                                         ARTICLE VI
                                       MISCELLANEOUS

       6.1     Notices. All notices, requests or other communications required or permitted to be
made in accordance with this Agreement shall be in writing and shall be mailed by first class mail,
or delivered by such other means that might be reasonable and appropriate under the
circumstances.

                if to the Plan Administrator:

                                  Peter Kravitz
                                  c/o Province, Inc.
                                  2360 Corporate Circle, Ste. 340
                                  Henderson, NV 89074

                with a copy to:

                                  Domenic E. Pacitti
                                  Klehr Harrison Harvey Branzburg LLP
                                  919 Market Street, Suite 1000
                                  Wilmington, DE 19801

        6.2    Change of Address. Any person or entity may change the address at which it is to
receive notices under this Agreement by furnishing written notice to the parties listed in Article 6
hereof. Such change of address shall be effective ten (10) Business Days after service of such
notice.

         6.3    Effectiveness. This Agreement shall become effective on the Effective Date.

        6.4     Governing Law. This Agreement shall be governed by, construed under and
interpreted in accordance with the laws of the State of Delaware.

       6.5    Headings. Sections, subheadings and other headings used in this Agreement are
for convenience only and shall not affect the construction of this Agreement.

       6.6    Amendments. This Agreement may be amended from time to time by the Plan
Administrator, with the approval of the Bankruptcy Court, after notice to United States Trustee,
and such hearing (if any) as the Court may hold.

       6.7     Conflict. In the event of a conflict between the provisions of this Agreement and
the provisions of the Plan, the provisions of the Plan shall govern.

       6.8     Jurisdiction. The Bankruptcy Court shall retain exclusive jurisdiction to hear and
determine all conflicts concerning this Agreement and all matters related to the interpretation and
implementation of this Agreement.


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                                      ARTICLE VII
                                 ADDITIONAL PROVISIONS

       7.1      Termination of Responsibilities. Upon the liquidation of the assets and the payment
of funds to all Holders of Allowed Claims, the Plan Administrator may apply to the Bankruptcy
Court for an order terminating its duties and responsibilities under this Agreement and the Plan.
Upon the termination of its duties and responsibilities by the Bankruptcy Court, such the Plan
Administrator shall have no further obligations hereunder.

        7.2    Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction of all
disputes arising under this Agreement. Any such disputes shall be resolved by an order of the
Bankruptcy Court, which order shall be final and binding, with the Plan Administrator waiving all
rights of appeal therefrom.

      7.3      Distribution Date.    Each Distribution Date shall be determined by the Plan
Administrator.

        7.4     Dissolution of the Debtors. The Plan Administrator shall have the non-exclusive
authority to effect the dissolution of any one or more of the Debtors under the Plan.

       7.5     Other Actions. The Plan Administrator shall have all duties and responsibilities
with respect to all causes of action of any of the Debtors or the Estates as set out in the Plan.

                                             Performance Powersports Group Investor, LLC
                                             and its Debtor Affiliates


                                             By:______________________________
                                                   Ken Vanden Berg
                                             Its:  Chief Financial Officer

                                             Plan Administrator


                                             By:______________________________
                                                   Peter Kravitz




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                                    Exhibit F
                             Identity of Plan Administrator


                       The Plan Administrator shall be Peter Kravitz.




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